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                      DECLARATION OF DR. CHRISTOPHER SEAVER
                               Pursuant to 28 U.S.C. § 1746
           I, Dr. Christopher Seaver, have personal knowledge of the facts and matters set forth

    below. If called as a witness, I could and would testify as follows:

           1.      My name is Christopher Seaver. I am over twenty-one years old and live in Fort

    Lauderdale, Florida.

           2.      A few years ago I came up with an idea for a cell phone case made out of netting

    with a pocket on the back for storing cards, money, or other things. I called it “Smart Net.” I

    secured a provisional patent on my idea through a company, but I shopped my idea around to
    other companies, looking for help to get a non-provisional patent and to make money from it.

    One of the companies I came across was World Patent Marketing (“WPM”). I did my homework

    on WPM. I had a very difficult time finding anything negative about the Company. I also saw

    positive testimonials on WPM’s website.

           3.      Eventually I decided to pitch my idea to WPM. Lionel Simmons, a WPM

    representative, asked me to send in a design of my idea. He told me that WPM would do a patent

    search and market analysis of my idea for a few thousand dollars. He discounted that to $995

    because I already had a provisional patent.

           4.      A while after I paid WPM, the Company sent me a report called the “Global

    Invention Royalty Analysis” (“GIRA”) dated April 16, 2015. A true and correct copy of my

    GIRA is attached to this Declaration as Attachment A. The GIRA included a “Comprehensive

    Patent Search Report,” which rated my idea’s suitability for a design patent as “good,” and its

    suitability for a utility patent as “excellent.” The GIRA also included a long section called the

    “Market Demographic and Psychographic Report,” and a final section called the “Ivy League

    Research Lab Marketability Study.”

           5.      The front page of the Marketability Study section of the GIRA listed the

    following bullet points under the heading “Researchers at a Glance”: “Attending Harvard / MIT;

    Business / Analyst Experience; Industrial Research Experience; Leadership Experience; MIT

    Energy Club; Harvard Graduate Student Council; Harvard Graduate Business Club; Harvard


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    India Conference Panel.” The Marketability Study included the following observations on my

    idea: “a significant market share can be gained”; “superior … noticeable improvement” over

    “competing and/or substitute products”; “has customer appeal”; “new product spin-offs likely”;

    “very large” “expected sales”; “VERY LARGE” “total market”; and “LESS THAN 6

    MONTHS” “expected payback period … for a manufacturer or licensee.” The Study concluded

    that my idea scored a 75 out of 100, on the high end of the “Probably Successful” range.

           6.      Around the time I received the GIRA, Lionel put me in touch with WPM’s CEO,

    Scott Cooper. Scott asked me to come to WPM’s office in Miami Beach to meet with him. At our

    meeting, he told me he was very interested in my product, and he thought it was a great idea. He

    said he wanted to do some more homework on the product and get back to me. He also told me

    about inventors who had had success with WPM, including the inventor of the Safety Blade.

    Scott told me he had gotten that inventor a huge deal with Home Depot, and that the inventor

    was going to be rich because of it. Scott said: “I’ve made him a millionaire.”

           7.      When Scott got back to me, he told me that I had a really great and valuable idea,

    and he wanted to get utility, design, and PCT patents for it. He said that WPM had different tiers

    of patent packages at $35,000, $69,000, and $105,000; but that he would discount the $69,000

    package to $50,000 for me. He told me that if I bought a package from WPM, I would receive

    90% of future royalties on my invention, and WPM would take 10%. I paid WPM through two

    checks for $25,000 each, dated June 3 and 26, 2015. I also signed an agreement with the

    Company. Around that time, Scott gave me some paperwork to sign for my patent application.

    One form said that my patent agent would be Philip Virga.

           8.      Scott called me back within the next few months, saying that he thought my idea

    was so good that he wanted to invest in it. He said he was the best marketer out there, and that

    we could both make money if he marketed my invention. He also told me that, since I had

    already “licensed” my idea to WPM, I would only get a fraction of a percent of the royalties

    unless I invested more money. This was completely different from the 90/10 split that WPM

    promised earlier. I was caught totally off guard by this. He said I should have “skin in the game.”


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           9.      To discuss his investment proposal, Scott called me to a closed meeting at his

    office. It was just us, and he told me that I couldn’t take notes or take anything out of the room.

    He just showed me numbers on his computer, saying that he was going to make me millions of

    dollars. Then he handed me a contract called an “Exclusive Patent Licensing Offer.” The contract

    was between “WPM Licensing Partners, Inc.” and “CS Elements Development, LLC.” Scott had

    recommended I start that LLC for tax purposes.

           10.     Section 4.2 of the Licensing Offer was titled “Royalty Program.” It provided that:

                   a)      If I paid WPM $400,000, my royalty would be 20% of net sales;
                   b)      If I paid WPM $500,000, my royalty would be 25% of net sales;

                   c)      If I paid WPM $600,000, my royalty would be 30% of net sales; and

                   d)      If I paid WPM $700,000, my royalty would be 35% of net sales.

    Scott allowed me to keep a copy of the Licensing Offer. A true and correct copy of that contract,

    with some of my handwritten notes on it, is attached to this Declaration as Attachment B.

           11.     I didn’t agree to the contract right away at the meeting in Scott’s office. He called

    me up after the meeting and said that he was going to proceed with his investment, and I would

    get only a small amount of the royalties if I wasn’t on board to invest too. He said: “I’m

    producing this with or without you.” I felt really strong-armed into giving Scott more money. I

    thought would lose out on everything if I didn’t invest. I decided to agree to the contract.

           12.     I paid WPM a $30,000 deposit, and Scott made me sign a promissory note that

    said that I had to pay WPM $270,000 more by January 30, 2016. A true and correct copy of the

    promissory note, with some of my handwritten notes on it, is attached to this Declaration as

    Attachment C. I took out two lines of credit totaling $160,000 and sent that amount to WPM at

    the beginning of February 2016. At the same time, I also wrote a check for $90,000 of my own

    funds. I could not afford to pay WPM any more.

           13.     Around this time, before I made these payments, Scott also invited me down to

    Miami for dinner, and he came to a party I hosted at my home. He also told me that he had guys

    from Saudi Arabia coming in with dozens of medical patents that he wanted me to review. He


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    said he would pay me a consulting fee. He scheduled a meeting for me to meet these people, but

    when I called to confirm the appointment, he told me it was cancelled. I never heard anything

    more about these patents.

           14.     After I paid WPM, things started moving very slowly. I had Scott’s cell phone

    number and e-mail address, but when I called or e-mailed him, he often responded that he would

    get back to me; then he never did. Scott would also set phone meetings but then not be available

    at the time he set; only to call me back at crazy times like 11 pm on a Saturday.

           15.     Scott did, however, ask me to provide a testimonial to say how successful my
    product had been. I refused to give him a testimonial because it hadn’t been successful yet. Scott

    came back to me a couple of months later asking me to make a video promoting WPM, and

    suggested that the marketing department at my hospital produce it. I didn’t do that either.

           16.     Scott often drew up extremely complex Excel spreadsheets, but he only showed

    them to me on a computer screen. In one meeting, he claimed that the spreadsheets showed that

    if we were to sell even a small amount, I would make $1.4 million. He said that was probably a

    conservative estimate because he was the master of marketing, and he would bring in many

    customers. I often asked Scott for written statements of the financial projections he was giving

    me. He told me many times that he would send me the documents he showed me, but he never

    actually shared anything in print; he only told me numbers over the phone or in person.

           17.     At one point Scott told me that WPM had decided not to pursue my exact

    invention anymore. He said that WPM was working on a new line of cell phone cases called

    Janus Case. Scott said that my idea wasn’t good, that Janus Case was better, and that WPM

    might come back to my idea if Janus Case did well. This was completely different from what he

    originally told me about my invention; when I first described it to him, he thought it was great.

           18.     After WPM replaced my invention with Janus Case, I suggested a “case of the

    month club”—like Columbia House records subscriptions but for cell phone cases. Scott replied

    that he liked the idea because it would lock customers in for months. He also said that he wanted




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    to patent that business model instead of the phone case itself, which he said was already taken

    care of. Scott never gave me a copy of any patent applications filed on my behalf.

           19.     Later, Scott told me that WPM had changed graphic designers for the Janus Case,

    and that he loved the new art so much, and the designs were so good, that we didn’t need the

    subscription club to sell them anymore. Scott told me that the club wasn’t a good idea anymore.

    Instead, he said that because people love to collect things, people would make collections of

    Janus Cases. He said that collectible cases would also sell better than my original idea for a

    phone case with a picket. All of this was the opposite of the things he had told me earlier—the
    things that convinced me to invest in WPM in the first place.

           20.     Scott told me that WPM had two factories in China and one in California to meet

    extra demand for Janus Cases. He told me that the price per unit would be $3.95, plus a molding

    fee of about $400 to start the process. Later Scott said that the only factory producing Janus

    Cases was in the United States, which was different from what he originally told me.

           21.     Scott told me about a litany of things WPM was going to do to market the Janus

    Case, including making a commercial. At one point Scott showed me a “commercial” made up of

    clips from the internet. He said it would be on TV, but he never answered by repeated inquiries

    about when it would air. He later told me that he hadn’t gotten around to it yet, and also that it

    was too expensive. Scott also said that WPM would promote Janus Cases on social media. I did

    find a Facebook page for Janus Cases that had only forty-two likes. I also found an Instagram

    page for Janus Case, and WPM made a website for Janus Case.

           22.     Scott told me that Janus Cases would be available for sale on Amazon.com, but as

    far as I know, none have ever been sold there. In fact, I only know of one sale of a Janus Case

    ever, which Scott told me about on March 5, 2017. Scott showed me that the sale was to

    someone in Texas, and it was only a sale of an individual case; not a subscription plan.

           23.     Scott told me that it was easy to burn through money doing marketing, and that he

    didn’t want to waste money on it. He said he did studies and made metrics to find out who to

    market to, but that that analysis took time. To me, it seemed like this went on forever without any


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    results. I also kept asking Scott for details about how he was marketing Janus Cases, but he

    didn’t provide any more information.

           24.     Scott sent me some sample Janus Cases—about twenty to twenty-five iPhone

    cases. They had nothing to do with my original invention idea for a pocketed cell phone case. I

    felt that Scott had cut me out of my own invention to go on a tangent of his own, after I had paid

    him hundreds of thousands of dollars. At that point I had to go along with it to see if worked and

    made my money back.

           25.     At another point, Scott asked me if I wanted to be on WPM’s “Advisory Board.”
    Scott said he would ask me to do consulting work as a Board member, like reviewing medical

    patents and giving feedback to him about whether they were worth investing in. But Scott never

    actually asked me to consult on anything. WPM just put my name and picture up on its website

    as an Advisory Board member.

           26.     I continued to push Scott over the months for information on the manufacturing,

    marketing, and sale of Janus Cases. There were times when he didn’t return calls or e-mails for

    weeks or months on end. It seemed like things took way too long and there weren’t any sales.

    Scott would only respond when I insisted that he get back to me, and he just kept making

    excuses about why Janus Cases were not selling. A true and correct copy of some of my e-mail

    correspondence with Scott between August 2016 and March 2017, some of it with my hand-

    written notes on it, is attached to this Declaration as Attachment D.

           27.     After sending one e-mail confronting Scott about how I had put all this money

    into WPM and gotten nothing in return, and accusing WPM of being a scam, Scott called me up

    and said that I had made him and his wife feel bad. He said they had been working hard on

    marketing metrics, and that I should chill out and hang on, because he knew what he was doing.

           28.     During the time that I worked with WPM, I met with Scott Cooper at his office

    six to ten times. Scott always had a bodyguard with him. To get to Scott’s office I would go

    through a reception area and then through a locked door that opened up to several different areas

    of offices. Once he pointed out “legal” and “marketers,” who worked in workstations. Once he


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          told me that WPM was renovating two lower floors in the building before moving into them.
          When I met with Scotl in his office, it was usually just Scott and I, maybe with one other person,
          and with the door locked. Jerry Shapiro came to one meeting, and at one meeting I met Scott'!:i
          new wife, Esti Prager, who was COO of the Com puny. Scott oJten told rne that I couldn't talk lo
          others about our conversations.
                 29.     Scott also talked about himself. Once he told me that he had recently bought a
          new home on Pine Tree Drive in Miami l3each, which is a street of all million-dollur mansions.
                 30.     On or about March I, 20 I7, I l'eceived a letter from Phil Virga informing me thal
          he no longer worked with WPM, and attaching an Office Action from the United Slale!:i Patent
          and Trademark Office. The USPTO papers informed me that the design patent application for my
          original invention idea had been rejected. I talked to Phil, who said that my other patent
          applications had never been filed, as for as he knew.
                 31.     After all this, I have no patents or anything else fn>1n WPM. I have not made uny
          money from my involvement with WPM. This ha!:i caused financial hardship f'<.>r me because I've
          paid n1y life savings to WPM based on Scott telling me that he was the best marketer in the
          business and that no one else could do a better job; but l've gotten nothing in return. The singular
          reason I invested in WPM was to advance my pocketed case design, und because I believed
          WPM's and Scott's feedback on thiH idea. But just weeks in to working on that design, Scott told
          me that WPM wasn't working on my idea anymore, and that selling his collectible Janus Cases
          was better. That didn't work either. WPM has completely failed to live up to its promises to me.



                 I declare under penalty of pe1:jury that the foregoing ·



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    CS-0183                                                         Attachment A
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                                      SmartNet

                               Prepared Exclusively for

                               Christopher Seaver
                                  Fort Lauderdale, Florida
                                           On
                                    April 16, 2015




    CS-0184                                                         Attachment A
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    IV      Ivy League Research Lab............................................................................................................   0




  CS-0185                                                                                                                              Attachment A
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  CS-0187                                                         Attachment A
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 Patent Marketing
Comprehensive Patent Search Report




                                                                            4

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                                  ABOUT THE PATENT SEARCH REPORT

               A patent search report uncovers inventions similar to yours. Each similar invention found
      is called a "prior art'' and are all inventions disclosed before yours. To be granted a patent by the
       US Patent & Trademark Office {USPTO), Patent Office examiners must determine that your
      invention meets the three patenting criteria of being novel, non-obvious, and useful when
      compared to prior art.
               Having a patent search report provides you with valuable information. The report will
      show you prior art that may be used by the USPTO when examining your invention. Using this
      information, you can make a preliminary assessment towards whether or not the USPTO will
      consider your invention novel, non-obvious, and useful. You can then decide if you wish to
      continue to file a patent application. In addition, you can make changes or additions to your
      invention in order to make it more unique, before submitting a patent application.



                                              SEARCH OVERVIEW
    Inventor Name:          Christopher Seaver
   Invention Title:     1
                            SmartNet
                        '
   Search Type:         ' Comprehensive

   Fields of Search:        US patents & published patents pending
                            European patents & published patents pending
                            International patents within last 30 years




   Disclaimer: This patent search report" represents the best efforts of a professional patent searcher to find relevant
   prior art. There is no guarantee that all relevant prior art has been identified or that all prior art which may be
   cited by a US Patent Office patent examiner has been listed. Whether an invention is patentable is a subjective
   determination based on whether a patent examiner believes the invention is novel and nonobvious when
   compared to relevant prior art. What is relevant prior art is subjective, therefore it is entirely possible for a patent
   application to be rejected based on prior art not listed in this patent search report. The opinions in this patent
   search report is the searcher's professional interpretation for information purposes only and do not guarantee
   that an invention can or cannot be patented, nor does it constitute legal advice. The ultimate determination of
   patentability is made by the US Patent & Trademark Office.




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                                                        PRIOR ART
  Prior art which is relevant to your fnventiori is listed in tne table below. For each prior art, a rank number is assigned
  which represents how important the particular prior art is to your invention. A smaller rank number represents a
  prior art that is more relevant than a prior art with a larger rank number. Full copies of the prior art listed are in the
  Prior Art Portfolio, a separate file or document.

  When browsing through the prior art, it will be beneficial to write down how your invention is different and how it
  may overcome the prior art's shortcomings. Including this information will benefit your patent application.

   Rank I    Oowment' Num.bet    I rn�n}fo,OJ�f.e / SrmJJ�ritfM Noted & :t.omments


    1.       US 20120021810 Al      Cell phone cover with pocket

                                    A cell phone case with slit includes a cell phone cover. The cover comprises a vertical slit,
                                    an anterior end and a posterior end. In some preferred embodiments the cell phone cover
                                    may be made from neoprene, leather, canvas, or other materials.

                                    The scope of above prior art invention is same as the current invention, as the prior art cell
                                    phone cover is provided with a pocket to carry cards and related articles.


   2.        US 20140235303 Al      Protective carrying apparatus for a cellular phone and essential personal Items

                                   A protective carrying apparatus is designed to protect a cellular phone from any physical
                                   damage and to hold essential personal items such as coin or paper currency, credit or debit
                                 [ cards, and identification cards. The apparatus is configured to resemble a handbag or
                                   purse. The apparatus includes a formfitting phone case, a wallet, a handle, and a mirror.
                                   The formfitting phone case is used to enclose the cellular phone and has ho!es that allow a
                                   user to access the cellular phone's controls. The wallet is integrated onto one side of the
                                   formfittlng phone case and is used to store the user's essential personal items. The m!rror
                                   is mounted within the wallet but is reildily available to tht! user. The handle is connected
                                   adjacent to the formfitting phone case so that the user can carry the apparatus and can
                                   properly orient the apparatus while operating the cellular phone.

                                   The scope of above prior art invention is same as the current invention, as the prior art cell
                                   phone cover is provided with a pocket to carry cards and other essential personal items.


   3.         us 8504127 82        Pocket case for mobile communications devices combined wlth carrying compartment for
                                   credit card sized items

                                   A form-fitting case is comprised of two major components: 1) a structure for carrying
                                   mobile communications devices, and 2) a pocket for carrying of credit card sized devices.
                                   The pocket may be fabricated of fabric or leather. The pocket and structure are adhered
                                   permanently to create a single carrying case for both mobile communications devices such
                                   as cell phones and for items such as credit cards or paper money.

                                   The scope of above prior art invention is same as the current invention, as the prior art cell
                                   phone cover is provided with a pocket to carry credit cards, paper money, and other like
                                   things.




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   CS-0190                                                                                                       Attachment A
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   4.       US 201102.84407 Al            Cellular phone case and storage accessory

                                          A cellular phone case accessory device is dfsclosed. The case Is attached to a cell phone and
                                          includes an upper section and a lower section sized to correspond with a cellular phone
                                          and to receive the phone in one of the sections. The upper section and lower section are


                                     II
                                          attached by a hinge that enables pivotal movement of the upper and lower sections with
                                          respect to each other. Situated within the space defined between the upper and lower
                                          sections is a pocket or storage compartment where credit cards, cash, ID and other items
                                          may be stored safely. A mirror ls also disposed between the upper and lower sections and
                                          usable when the upper and lower sections are pivotally disposed in an open position.

                                          The scope of above prior art invention is same as the current Invention, as the prior art cell
                                          phone cover is provided with a pocket or compartment to currency, business cards, credit
                                          cards, driver's license and any other like items.


   s.
                                 !I
            US 20140066142 Al             Electronic Device Protective Case and Article Carrying Pouch




                                 I
                                 i An electronic device protective case and article storage device is provided. The device
        I                          comprises a case having a front portion and a rear portion adapted to surround an
        !                          electronic device and protect its structure from scratches and impacts. The front portion
                                   supports the electronic device and provides access to the device display screen, while the
        I                        I rear portion is snap-connected to the front portion and optionally hinged therefrom. The
        !
        \
                                 I rear portion covers the rear of the electronic device and further supports an externally-


                                 '
                                 I
                                   mounted or internally-mounted pouch. The pouch comprises an expandable compartment
                                   for supporting identification, credit cards, cash, and other personal items. The front portion
                                   engages the electronic device and is adapted to remain connected with the electronic



                                 II
                                 i
                                   device when the rear portion is disengaged from accessing the pouch. In this way, the
                                   present invention provides a protective device and a convenient storage location for
                                   common articles required when traveling.

                                          The scope of above prior art invention is same as the current Invention, as the prior art cell

                                 !
                                 I
                                          phone cover is provided with a pouch for storage of credit cards, identification cards, and
                                          cash therein.
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  CS-0191                                                                                                              Attachment A
                                                                                                                      PX 31, 3175
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                                    UNIQUE ASPECTS OF YOUR INVENTION
       ---      ---                                    --                 -------- - - ---                                     ---
         These are components or aspects of your invention which are unique when compared to the pnor arr. mese
         will be used to argue approval of a patent application. Ensure that unique aspects of your invention are
         clearly explained in detail. It is beneficial to have as many unique aspects as possible. You may be able to
         improve on the similarities in the table at the top of the page and convert them into a unique aspect for your
         invention.


                             •     Bungee netting or rubberized elastic material
                              •    Zipper/button/velcro protected opening on the back side
                              •    Light weight
                              •    Aesthetic appearance
                              •    Durable and Convenient to use




                                                    UTILJTY/ DESIGN SUITABJUTY
          Utility patents and design patents work in parallel with each other. One is not a replacement for the other. Utility patent
          protects functiona/fty whereas design patent protects only the exterior shape of a product For example, Apple has utility
               patents to protect the iPhone'sfunction but also has design patents to protect the iPhone's exterior body shape.
        Below is whether your invention is suitable for utility patent and design patent If suitablefor both, you can decide tofile both
                                         to protect thefunction (utility) and exterior shape (design).

                    SUITABLE FOR UTilnY PATENT                                        SUllABLE FOR DESIGN PATE:NT

                                                                           Protects the exterior shape Does not protect functionality.



                                  GOOD                                                             EXCELLENT




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      CS-0192                                                                                                          Attachment A
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                           CHANCES OF APPROVAL FOR UTILITY PATENT




    ased on our review if an obJection of your patent application were to arise it miily be overcome or avoided with more detailed
   novelty disclosure and patent drafting strategy.




                          CHANCES OF APPROVAL FOR DESIGN PATENT




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                                  ANALYSIS & RECOMMENDATIONS
      Our analysis as ro the parentabifity oI your Invention alan9 with any recommendations to increase the chances
                                                of potent application opproval.

     Based on the patent search, we are able to learn valuable information regarding the patentability of
     your invention along with possible strategies to increase the chances of eventual patent success.
     During our search we have found various inventions related to "SmartNet'' that you have presented
     to us.

     Conceptually, similar to your invention is the Patent No US 20120021810 A1, "Cell phone cover with
     pocket" where an article for protecting cell phones and carrying cards is disclosed. The invention
     concerns to an article of manufacture which can act as a carrying card holder while doubling as a
     cell phone cover. This is accomplished by creating a vertical or horizontal slit within the cell phone
     case or cover.

     Unlike the above mentioned prior art, the current invention securely carries the personal essential
     items like money, credit cards and other ID cards, keys, lipstick, gums and many more. It can be used
     on cell phone, tablets with or without case.

     Another prior art Patent No US 20140235303 Al, "Protective carrying apparatus for a cellular
     phone and essential personal items" where the present invention pertains to combination cell
     phone and card holding case which combines the functionality of both a cell phone case and a card
     holding case into one apparatus which has a physical appearance that is similar to a small handbag
     known as a purse.

     Unlike the above mentioned prior art, the current invention is a bungee rubberized net that
     attaches to the back of any cell phone to place personal essential items into. A zipper/button/velcro
     protected opening is provided to securely carry the items.

     Further prior art Patent No US 8504127 82, "Pocket case for mobile communications devices
     combined with carrying compartment for credit card sized items" where the invention relates to a
     pocket case for a mobile communications device. The case comprises a protective cover for holding
     the mobile communications device and a pocket for holding one or more credit card sized items.

     Unlike the above mentioned prior art, the current invention is a stretchable rubberized net case,
     able to carry cards, currency and various other essential items. It has an aesthetic design which
     provides an elegant look to the mobile phone.

     Another prior art Patent No US 20110284407 Al, "Cellular phone case and storage accessory''
     where the present invention relates to a protective covering of the cell phone along with an
     attached hinged compartment specifically designed to act as a wallet/ID holder.

     Unlike the above mentioned prior art, the current invention is a bungee netting or rubberized elastic
     material, stretchable enough to fit into the phone's shape and carry the various essential items at
     the back panel of the cell phone.




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  CS-0194                                                                                            Attachment A
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      Further prior art Patent No US 20140066142 Al, "Electronic device protective case and article
      carrying pouch" where the invention pertains to a new and novel cellular phone case having an
      integrated pouch for storage of credit cards, identification cards, and cash therein.

      Unlike the above mentioned prior art, the current invention provides a net cover to hold or carry
      additional items together with the mobile phones. The cover is provided with a zipper/button/velcro
      opening to securely carry these items.

     The patent office looks to three criteria while judging an invention's application for approval:
     novelty, non-obviousness and utility. The usefulness of your invention is clearly to provide a case for
     carrying various personal essential items together with the cell phone.

     The novelty of the invention is provided by the bungee rubberized net that attaches to the back of
     the cell phone. A zipper/button/velcro protected opening is provided to securely carry the items.

     These unique features in combination may make it non-obvious for a person skilled in the art to
     derive upon the current invention.

     It is highly recommended to extract out further unique and novel features of the invention to make
     it superior over prior arts and authenticate its patentability.

     If you believe that your invention is ready for patentability we always recommend that you review
     your invention one more time before submitting your invention. First, take a look at the prior art.
     Knowledge of the unique aspects in the prior inventions allows you to possible incorporate them
     into your design or simply just work around them. Brainstorm any additional functions or
     components you would like to include in your invention. The more unique aspects an invention can
     be considered to have, the greater the chance of patentability. Remember to try to include all these
     aspects in your design before filing. Once you file ym..r invention's application for approval, the
     application cannot be changed or amended unless you repeat the application process over. Once
     you have concluded that you have maximized the uniqueness of your invention in light of the prior
     art concepts that I have mentioned above, let your invention consultant know you are ready to
     proceed forward with the patent application.




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  CS-0195                                                                                    Attachment A
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               PRIOR ART FIGURES FOR PATENTABILITY REPORT




                                   FIG: 1
                             US 20120021810 Al


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                                   FIG: 1
                             US 20140235303 Al


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  CS-0196                                                         Attachment A
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                                    FIG: 1
                                US 8504127 B2




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                                   FIG: 1
                             US 20110284407 Al



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  CS-0197                                                            Attachment A
                                                                    PX 31, 3181
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                                   FIG: 1
                             US 20140066142 Al




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  CS-0199                                                         Attachment A
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    INDUSTRY PROFILE

   Plastic & Rubber Product Manufacturing
   3.2.2015
   NAICS CODES: 326
   SIC CODES: 2673, 3011, 3021, 3052, 3053, 3061, 3069, 3081, 3082, 3083, 3084, 3085, 3088, 3089
   Industry Overview
   Companies in this industry manufacture plastic bags and bottles, plastic film and sheets, plastic pipe and
   foams, rubber hoses, and tires. Major companies include US-based Berry Plastics, Cooper Tire & Rubber,
   Goodyear, and Newell Rubbermaid, as well as Amcor (Australia), Bridgestone Uapan), Michelin (France),
   Pirelli (Italy), and Reynolds Group Holdings (New Zealand).

   Top global suppliers ofplastic and rubber products include China, Germany, and the US. Producers are
   targeting countries such as India, China, and Brazil for growth.

   The US plastic and rubber product manufacturing industry includes about 10,000 companies with combined
   annual revenue of about $230 billion.

   Tire manufacturers, which are included in the industry, are covered in a separate profile.

   Competitive Landscape
   Because plastic products are widely used in industry and as consumer products, demand depends on the
   overall health of the economy. The profitability ofindividual companies depends on product
   mix and production efficiency.Large companies have economies of scale in buying raw materials and in
   manufacturing commodity products such as bottles and plastic film. Small companies can compete effectively
   by specializing.

   The US plastic and rubber product manufacturing industry overall is fragmented: the 50 largest companies
   account for about one-third ofsales. However, the industry has hundreds of niches, determined by material
   type, manufacturing process, and end-use, some ofwhic:h arP. dominated by a few producers.

   Products, Operations & Technology
   Major products include plastic bags and bottles, plastic film and sheets, plastic pipe and foams, rubber hoses,
   and tires. Plastic products account for about 80 percent of industry revenue.
   Product Segmentation by Revenue - Census Bureau




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  CS-0200                                                                                          Attachment A
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                                                                      --Rubber products, 20%



       Plastic products, 80� _,/




   Plastics and rubber have a wide range of physical properties, making them suitable for different uses. Most
   producers specialize in a few product lines, as the equipment and tooling needed to manufacture to customer
   specifications can be expensive. The typical manufacturer has a single plant and fewer than 100 employees.

   Injection and compression molding are the principal methods of plastic processing. In injection molding,
   plastic material is put into a hopper that feeds into a heated injection unit. The heat softens the plastic into a
   fluid, which is injected into a cold mold. The plastic cools and hardens, then is ejected. Timing is essential to
   ensure that the pla!>'t:ic is in the correct state for softening and hardening. Compression molding uses plastic
   molding powder squeezed into a mold shape through force; pressure, heat, and timing are key. Another
   process method, reaction injection molding, uses liquids that chemically react to turn into plastic inside the
   mold. Because this method requires little heating, it uses considerably less energy. Process methods and
   equipment are chosen to suit the type of product made, such as the blow molding process, which adds
   compressed air to form hollow articles like bottles.

   Raw plastic materials include vinyl; acrylics; polyvinyl chloride (PVC); polystyrene; polypropylene (PP);
   high-density polyethylene (HOPE); polyethylene terephthalate (PET); polycarbonate; epoxies; urethanes; and
   dozens of other plastics. Raw materials are the major manufacturing expense, often equal to 50 percent of
   revenue. These plastics may be bought from suppliers or made from polymer resins bought from large
   chemical producers such as Dow, DuPont, and Exxon Mobil, which typically synthesize them from oil or
   natural gas. The type of resin used depends on the end-use. Acetal, for example, is used in auto parts, and
   polyethylene is used in toys. Prices for resins are tied to crude oil prices. Some plastics, such as PET, often
   used for bottles and sheets, can be recycled.

   Most rubber is synthetic, produced in manufacturing plants that synthesize it from petroleum and other
   minerals. Natural rubber is made from the sap of cultivated trees in Asia and Africa. Whether natural or
   synthetic, rubber in its native form is useless until chemicals are added to make it soft, resilient, or hard. The
   different types of synthetic rubbers include styrene butadiene (SBR); polybutadiene (BR); ethylene propylene
   rubber (EPR); acrylonitrile butadiene rubber (NBR); polychloropene (CR); butyl (IIR); and specialty
   elastomers.




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  CS-0201                                                                                            Attachment A
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    Technology

    Some plastics makers use information management tools that link manufacturing operations to customers.
    These systems improve customer service by ensuring timely product distribution while reducing supply
    chain costs and improving productivity. Some companies may also use CAD systems to design products, or
    use 3D simulation software for computer modeling of various products or manufacturing processes.

   An emerging technology called additive manufacturing, or 3D printing, is also changing the way
   manufacturing companies develop new products. 3D printers create objects by adding successive layers of
   material (typically plastic or metal), and allow product manufacturers to perform rapid, in-house prototyping.
   The technology may eventually advance into producing finished products on a large scale. Advantages over
   traditional manufacturing methods include decreased capital spending on tooling and machinery, as well as
   reduced waste, since only the amount of material needed to make the product is used. Additive
   manufacturing could also lessen the need for large inventories, since products can be produced on a just-in­
   time basis. Global demand for 3D printers, materials, and software is forecast to rise more than 20 percent
   per year through 2017, reaching a value of $5 billion, according to the Freedonia Group.

   Sales & Marketing
   Plastic and rubber products are used in packaging (bottles and wrapping); construction (pipes and
   insulation); and consumer products (plastic containers). Customers also include OEMs such as companies
   that make motor vehicles, motor vehicle parts (tires, hoses, and plastic and rubber automotive components),
   aircraft, electronics, and medical devices. Consumer-oriented plastic and rubber products are typically sold
   to distributors or retailers.

   Except for commodity products that are sold based on lowest price, manufacturers typically sell their ability
   to make a product according to the customer's specifications, with price a secondary consideration. Sales are
   handled by an in-house sales force with technical knowledge and by manufacturers' representatives.
   Companies may advertise in trade magazines and at trade shows. Manufacturing plants for bulky products,
   such as bottles, are often located close to customers because of high shipping costs. Consumer products are
   advertised using television, radio, print media, and the Internet

   Finance & Regulation
   Cash flow for small companies may be uneven because they can handle only one or a few contracts at a time.
   Large companies may hedge against increased material costs by investing in financial futures. Due to
   shortened product life cycles for many products, companies often have to invest in advanced design
   capabilities and increasingly sophisticated machinery. Capital investments in machinery and equipment are
   typically 3 to 5 percent of sales. The industry is capital-intensive: average annual revenue per employee is
   about $340,000.

   The industry's working capital turnover ratio is about 20 percent Raw materials costs can fluctuate with
   energy prices and typically represent about 50 percent of annual sales. Inventories represent about 10
   percent of sales, and are most highly concentrated in raw materials and finished products. Manufacturers of
   certain products, such as vinyl products used in construction and plastic consumer products, may experience
   some seasonality and build inventories ahead of demand peaks. Accounts receivable average about SO days'
   sales.




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  CS-0202                                                                                        Attachment A
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    Because of the chemicals added to some plastics, manufacturers may have problems with air
    pollution and ground contamination. Fumes may also be released in the workplace during manufacturing.
    The EPA's National Emission Standards for Hazardous Pollutants (NESHAP) has rules and guidelines for the
    manufacture of polymers and resins, cellulose, amino and phenolic resins, and plastic composites. OSHA has
    specific regulations to protect workers from potentially hazardous chemicals used in plastics manufacturing
    including acrylonitrile, methylene chloride, and butadiene, as well as flammable and combustible liquids.

    International Insights
    Leading companies based outside the US include Amcor (Australia), Bridgestone (Japan), Michelin (France),
    and Pirelli (Italy).

   Top global suppliers of plastic and rubber products include China, Germany, and the US. Producers are
   targeting countries with large, emerging economies such as India, China, and Brazil for growth. Burgeoning
   middle classes in these countries are spurring growth in industries such as automobiles and airlines, which
   are major end markets for both plastic and rubber parts.

   While emerging markets provide manufacturers with growth opportunities, producers are facing growing
   concerns from consumers in mature markets about health and pollution problems associated with plastic
   and rub her products. Manufacturers operating internationally must navigate constantly changing health and
   safety standards that vary greatly from market to market.
   Change in Dollar Value of US Trade - US International Trade Commission
   Imports of plastic and rubber products to the US come primarily from China, Canada,
   Mexico, Japan, and Korea Major export markets for US plastic and rubber products
   include Canada, Mexico, China, Australia, and Japan.

    326 PLASTICS AND RUBBER PRODUCTS

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   Regional Highlights
   US plastic product manufacturers are often located close to the sources of raw materials or close to
   concentrations of industrial customers. Leading states for plastic and rubber products manufacturing
   include Ohio, Illinois, California,Texas, Pennsylvania, and Michigan. Based on number of establishments, top




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  CS-0203                                                                                        Attachment A
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    metropolitan areas for the industry are Los Angeles; New York; Chicago; Dallas; Detroit; Riverside, California;
    Minneapolis; and Philadelphia.

    Human Resources
    Jobs in plastics manufacture involve feeding and tending machinery that usually works in batches. Much of
    the work requires only modest skills, and average hourly industry wages are accordingly moderately lower
    than the national average. The industry injury rate is about 30 percent higher than the US average.




    Industry Employment Growth
    Bureau of Labor Statistics
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   Average Hourly Earnings & Annual Wage Increase
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   Industry Growth Rating




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  CS-0204                                                                                                                    Attachment A
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    l ·====" I
   Demand: Used widely in industry and consumer products
   Need good product mix and manufacturing efficiency
   Risk: Volatile raw materials costs and environmental concerns




   Quarterly Industry Update
   3.2.2015



   Challenge: Recycled PET Demand Outpacing Supply - US demand for clean, recycled polyethylene
   terephthalate (PET) plastic is surpassing supply, according to the National Association for PET Container
   Resources. While recycling rates for PET plastic continue to climb, the rate of usable PET per bale of recycled
   plastic is in decline. Single-stream recycling efforts lead to a higher rate of contamination per bale, and PET
   packaging designs such as shrink or barrier labels can make packaging more difficult to recycle. The trend of
   lightweight packaging has also resulted in the need to sort and process a higher volume of material to
   produce a pound of usable recycled PET flake. Supplies of recycled PET have also tightened amid rising
   demand from US consumers, as well as from exports markets.

   Industry Impact - Plastic container manufacturers that use recycled PET as a feedstock may alter packaging
   design to make products easier to sort and recycle. PET container companies that also operate plastics
   recycling processing plants may invest in more sophisticated sorting machinery to increase recycled PET
   recovery rates.

   11.24.2014
   Opportunity: US Shale Boom Could Benefit Plastics Industry- US plastics manufacturers stand to benefit
   from the US boom in natural gas shale plays, according to Trib Total Media. US production of ethane, a natural
   gas liquid, has increased significantly from shale plays including the Marcellus, Utica, and Bakken shale
   fonnations. In processing plants called ethane crackers, ethane is produced from natural gas. Ethane is then
   used to produce ethylene, the key ingredient in polyethylene plastic. Royal Dutch Shell is reported to be
   considering the construction of a new ethane cracker in Beaver County, Pennsylvania, to process natural gas
   from the Marcellus Shale. The US division ofBrazilian petrochemical firm Braskem is proposing construction
   of an ethane cracker in West Virginia.

   Industry Impact - US polyethylene plastics producers may enjoy lower raw materials costs and more stable
   supply chains if the rise in domestic natural gas production leads to construction of more ethane crackers.

   9.1.2014
   Opportunity: Chinese Rubber Product Demand to Rise - China's demand for rubber products is expected
   to increase nearly 9 percent per year and reach a value of more than $120 billion by 2017, according to a new
   report by the Freedonia Group. Growing demand from China's motor vehicle and industrial machinery



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  CS-0205                                                                                         Attachment A
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    industries are expected to be the chief drivers of the uptick in rubber products consumption. Tires are the
    largest product segment and demand is expected to shift toward higher-value tire products including radial
    tires, run-flat technology, and ultra-high performance tires. Industrial rubber products used in machinery are
    expected to see annual gains of more than 9 percent amid robust demand for construction machinery, mining
    equipment, machinery used in the chemical and petroleum industries, and metalworking machinery. Rubber
    used in aerospace applications is also forecast to see strong demand through 2017.

    Industry Impact- Makers of industrial rubber products used in the automotive, industrial machinery, and
    aerospace industries may pursue opportunities in China by establishing sales offices there or by investing in
    manufacturing operations.

   6.9.2014
   Opportunity: Goodyear Bets on Growth in the Americas - Goodyear Tire & Rub her's decision to invest
   $5 00 million to build a new plant to serve North American and Latin American customers reflects continuing
   demand for new vehicles. Though the plant's location has not been determined yet. the company indicated in
   May 2014 that the plant will make consumer and OEM tires. Initial annual capacity is set at 6 million tires,
   with the ability to expand as demand increases. Production is expected to begin in the first half of 2017.
   Increasing cash flow from operations enabled Goodyear's investment, which is designed to take advantage of
   growing auto sales. It will be the company's first new plant in the region since 1990, according to The Wall
   Streetjournal. Other tire companies planning manufacturing expansions in North America include
   Bridgestone, Continental, Hankook, and Toyo Tire.

   Industry Impact - Goodyear's new manufacturing plant will help the tire maker compete in the Americas, but
   expansion in the region could create pricing pressure if auto sales fail to maintain their current growth rate.

   Industry Indicators
   US nondurable goods manufacturers' shipments of plastics and rubber products, an indicator of plastic and
   rubber products production, fell 1.2 percent year-to-date in January 2015 compared to the same period in
   2014.

   The spot price of crude oil, a key raw material in plastic and rubber manufacturing, fell 52.1 percent in the
   week ending March 13, 2015, compared to the same week in 2014.

   Industry Forecast
   Revenue (in current dollars) for US plastic and rubber products manufacturing is forecast to grow at an
   annual compounded rate of 5 percent between 2015 and 2019, based on changes in physical volume and unit
   prices. Data Published: February 2015




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  CS-0206                                                                                          Attachment A
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        First Research forecasts are based on INFORUM forecasts that are licensed from the Interindustry Economic
        Research Fund, Inc. (IERF) in College Park, MD. INFORUM's "interindustry-macro" approach to modeling the
        economy captures the links between industries and the aggregate economy. Forecast FAQs

      Companies
       I
 Compa y                                                                  ountry                        Salr.s
AMCOR LTD                                                                                   Australia            $10,217.39M
BURELLE                                                                                       France              $7,057.39M
REYNOLDS GROUP HOLDINGS LIMITED                                                        New Zealand                $5,207.17M
BERRY PLASTICS GROUP, INC,                                                             United States              $4,958.00M
SUMITOMO RIKO COMPANY LIMITED                                                                  Japan             $3,582.0SM
Trelleborg AB                                                                                Sweden               $3,313.28M
SRI TRANG AGRO-INDUSTRY PUBLIC COMPANY LIMITED                                              Thailand             $2,800.59M
Aptargroup, Inc.                                                                       United States             $2,597.SlM
ARMSTRONG WORLD INDUSTRIES, INC.                                                       United States             $2,515.30M
PLASTIPAK PACKAGING, INC.                                                              United States             $2,300.00M
Geberit AG                                                                              Switzerland              $2,245.89M
Coloplast A/S                                                                               Denmark              $2,112.76M
INTEPLAST GROUP, LTD.                                                                  United States             $2,000.00M
Griffon Corporation                                                                    United States             $1,991.BlM
NIFCO INC.                                                                                     Japan             $1,797.0SM
BORYSZEW S A                                                                                 Poland              $1,604.67M
FP CORPORATION                                                                                 Japan             $1,563.68M
Woodbridge Foam Corporation                                                                  Canada              $1,363.26M
Recticel SA                                                                                 Belgium              $1,344.61M
SSL INTERNATIONAL PLC                                                                       England              $1,323.16M
Uponor Oyj                                                                                   Finland             $1,247.ZOM
FENNER PLC                                                                                  England              $1,210.SlM




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      CS-0207                                                                                            Attachment A
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Nypro Inc.                                                                            United States                $1,200.00M
AEP Industries Inc.                                                                   United States                $1,192.99M
NISSHA PRINTING CO.,LTD.                                                                      Japan                $1,076.50M
Advanced Drainage Systems, Inc.                                                       United States                $1,069.0lM
SEKISUI PLASTICS CO., LTD.                                                                    Japan                $1,066.BOM
China Xd Plastics Company Limited                                                     United States                $1,050.82M
HI-P INTERNATIONAL LIMITED                                                               Singapore                    $995.0BM
TREDEGAR CORPORATION                                                                  United States                   $945.13M
       Industry Drivers




       I
       Changes in the economic environment that may positively or negatively affect industry growth.
           prmrjded by First Research analysts and reviewed annually



       Energy Prices Change in crude oil and related energy prices




       Consumer Spending Change in overall level of consumer spending on goods and services




       Commodity Prices Changes in prices for commodities, such as crops, metals, and other raw materials


      Critical Issues
      Demand Depends on Manufacturing - Demand for most plastic and rubber product') is closely linked to the
      overall health of the economy. Because most plastics and rubber products are intermediate components that
      go into final goods, demand rises or falls in tandem with manufacturing activity.

      Raw Material Price Fluctuations - Because plastics and synthetic rubbers are derived mainly from oil and
      natural gas, price and availability of plastic and rubber products depend on the price ofthese feedstocks (raw
      materials), Manufacturers typically pass price increases along for raw materials, but higher world oil prices
      make plastics a less desirable replacement for other materials.

      Business Challenges
      Seasonal Demand - Some plastic products have seasonal demand. Vinyl producers, for instance, build
      inventories in the early part of the year for the spring and summer building season. Demand for plastic parts
      used in consumer products, such as toys, peaks in preparation for the winter holiday season.

      S�ortened Product Life Cycle - The life of a new product from concept to market has decreased from years
      to months, affecting the entire supply chain of plastic products. Equipment manufacturers look increasingly
      to closer collaboration with plastics suppliers to cut production timetables, asking them to be responsible for



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     CS-0208                                                                                           Attachment A
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    specialized molded component design, development, and assembly. This requires plastic manufacturers to
    have more complex product design knowledge and capability, including more sophisticated machinery and
    better-educated employees. Quick and accurate turnaround on customer orders is critical for plastic
    companies to stay competitive.

    Environmental Concerns - Some plastic products, including plastic shopping bags and Styrofoam, have come
    under increasing scrutiny as they're seen as contributing to pollution. Some US municipalities have limited
    the use of plastic shopping bags and Styrofoam. Plastic water bottles have also raised health and pollution
    concerns.

   Business Trends
   Niche Products Keep Industry Fragmented - Because products often have very specialized applications, or
   are made to customer specifications, most manufacturers remain small, partly because few economies of
   scale are gained by combining companies. Many products in the plastics and rubber products industry are
   produced in relatively low volume for special applications.

   Changing Technology, Innovation - Companies are finding new uses for existing plastic and rubber
   materials, and chemists are producing newer plastics with novel physical properties that make them suitable
   for new uses. Production equipment and new ways of producing plastics are constantly evolving. Rapid
   technological innovation forces companies to stay abreast of new developments.

   Industry Opportunities
   Plastics Replace Other Materials - Demand for rubber and plastics to replace metal parts in autos and
   aircraft continues, as manufacturers prefer low-weight components. High-temperature, high-performance
   plastics are replacing aluminum, brass, steel, and other metals historically used in manufacturing. Demand is
   also increasing in the packaging and container market, as plastic is preferred over glass and metal for
   containers, and in the medical supplies industry for tubing. containers, and instruments.

   More Plastics in Construction - The use of plastics in residential and comme:rcia! construction is expected to
   increase. PVC piping is used extensively in construction, and plastics continue to be developed for insulation,
   roofing. windows, and structural materials. Building materials such as recycled plastic lumber are also used in
   "green building" applications.

   Bioplastics - Demand for bioplastics, which are derived from biomass such as vegetable oil or corn starch
   instead of petroleum, is expected to eventually exceed demand for traditional petro polymers. Bioplastics are
   competitive in terms of cost and perlormance. The global market for bioplastics is forecast to see an average
   annual increase of more than 28 percent, rising from a value of about $2 billion in 2014 to nearly $44 billion
   by 2020. The largest end-use markets for bioplastics are expected to be bottling, other packaging. and
   automotive.

   Auto Parts Market-The use of plastics in autos has grown from primarily interior and trim components to
   include body panels, bumpers, and other parts. Plastics offer several advantages in auto design: lighter and
   less expensive than steel, plastics make autos cheaper to build, and help them get better fuel economy. Auto
   designers and engineers are also using post-consumer recycled plastic, which offers environmental benefits.




                                                                                                               25
  CS-0209                                                                                         Attachment A
                                                                                                 PX 31, 3193
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                                   rc
   Electronics Market - F�es �a hrtas op ened up new ways to incorporate plas'll:ics into electronics. Plastic­
                                   ic l e          g
   based transistors and o :rgan i,ht mittin displays are being used in new \\v"ays including in electronic
                             s      d    i l e a ptop computers. Bec au se transistors made of plastic are cheaper and
   billboards, HDTV screen , an flex b l
                                                   h
   easier to manufacture t:.ha il th ose made of t e tr ad itional silicon, research intc:.:, other plastics applications in
   electronics will continue.

   Domestic Oil and Gas Product)on · Ample domestic supplies of oil and gas, ,.,_,.hich are feedstocks for
                                   regulate Supply costs for plastic produ ct makers ln the US. Advances n hor z tal
   polymer resins, should help                                                                            i     i on
              hydr    u lic rracta r ing(or fr acking) tech nologies have enabled dom €stic pro c r t
          g a
   drillin nd       a                                                                          d u e s o tap deposits
   that ere pre vio u sly in� cc essible, dramatically increasing US production of ol) and gas in recent years. The US
        w
                                            en b
   will become marly energy-independ t y 2030, according to a forecast by Bl?.

   Additive Manufacturing - Additwe man ufacturing, or 3D p rinting. is a rapid l:'i,,,· emerging technology that
                                         s e        s
   could ev entua l!y al ter the way om pla tic products a re manufactured. 3D printers create objects by a dding
                                             a  l    l
   successive layer of material (typic l p astic or metal). Chiefly used for rapid prototyping. the technology
                     s                            y
                                             c in nished prod ucts on large scale. Adva 1t1ta ges over traditional
   may eventually ad vance into prc-da g fi
         fa
   manu ct urin    g m e thods  in clu de dec r eased capital spending on tooling and machinery, along th re ce
                                                                                                          wi     du d
                                     t  f
   waste, since only the amoun o material needed to make the product is used. Global demand for 30 plinters,
                                        c        rise more than 20 percent per year through 2017, reaching a val of $5
   materials, and software is fore ast to                                                                          ue
                  ding  t o the Fre ed onia Gro    up.
   billion, accor

   Call Prep Questions
   Conversation Starters
   How does the com pany manage chan ges in demand?
                                     r
   Demand for most plastic an d rubbe pr oducts is closely linked to the overall health of t he econo my.

   How does the company protect itselffrom the changin g costs of raw mate:t"ia ls like oil?
         u       tics an d synthetic niboers a re derived m ainly from oil and natural gas, rice and a
   Beca se plas                                                                                  p     vailability of
                                s    p e  o  t h e price o f these feedst o cks ( ra w  at ri ls
                                                                                       m e a ).
   pla stic and rubber p roduct de nd n

                                 ds               ?
   How seasonal is demand an ul!sequent cash flow
                                  asonal demand .
   Some p lastic products have se

   What opportunities does the c ompany s ee t o take market share fr om traditional materia ls, like glass
   and metal?
                                     replace metal parts in a utos and aircraft continu es, as m anufacturers
   Demand for rubber and plastics to
                                .
   prefer l ow-weight components

    How m ight the company take a dvantage of the growing us e ofplastics in construction?
    The use of plastics in residential and commercial construc tion is expected to increase.

    What is the company's development strat egy regarding bi oplastics?
    Demand for bioplastics, which are derived from biomass such as ve getable oil or corn starch instead of
                                   a
    petroleum, is expected w eventu lly exceed deman d for traditional petro polym ers.

    Quarterly Industry Update




                                                                                                                       26
  CS-0210                                                                                            Attachment A
                                                                                                    PX 31, 3194
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   If a maker of plastic containers from recycled PET, what, if any, supply chain issues has the company
   encountered?
   US demand for clean, recycled polyethylene terephthalate (PET) plastic is surpassing supply, according to the
   National Association for PET Container Resources.

   Operations, Products, and Facilities
   What types of products does the company produce?
   Major products include plastic bags and bottles, plastic film and sheets, plastic pipe and foams, rubber hoses,
   and tires.

   What types of plastic or rubber are used in the manufacturing process?
   Some examples include PVC, acrylic, PET, and latex. Different raw materials are used depending on the
   product's end-use, such as acetal in auto parts and polyethylene in toys.

   What type of manufacturing process is used?
   Injection and compression molding are the principal methods of plastic processing. Process methods and the
   resulting equipment are chosen to suit the type of product produced, such as the blow molding process,
   which uses compressed air to form hollow articles, like bottles.

   How old is the company's equipment?
   Production equipment and new ways of producing plastics are constantly evolving, requiring more
   sophisticated and automated equipment

   Customers, Marketing, Pricing, Competition
   How many customers does the company have?
   Many companies have just a few large accounts. Typical customers include OEMs, such as auto, aircraft, and
   medical device companies; consumer product companies, such as Procter & Gamble, or soft drink bottlers
   that use bottles and containers; end-users such as hospitals and the construction industry; and makers of
   consumer products.

   How have rising prices for raw materials affected the company's pricing strategy?
   Raw materials prices can be volatile.

   What is the average time from order to delivery?
   The life of a new product from concept to market has decreased from years to months. A short production
   cycle is crucial to meet demand.

   What services beyond basic manufacturing does the company offer to customers?
   Customers expect plastic molding companies to be involved with the product from design through
   distribution. Manufacturers need more complex product design knowledge and capability, including more
   sophisticated machinery and better-educated employees.

   Regulations, R&D, Imports and Exports
   How much R&D does the company do?
   Production equipment and new ways of producing plastics are constantly evolving. Rapid technological
   innovation forces companies to stay abreast of new developments.




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    Does the company export? To what countries?
    US exports of rubber and plastic products go largely to OEMs in Canada and Mexico.

    How has the company addressed issues related to toxic emissions or waste products?
    Because of the chemicals added to some plastics, manufacturers may have problems with air pollution and
    ground contamination. Fumes may also be released in the workplace during the manufacturing process.

    Organization and Management
    How large is the company's sales force?
    A technically skilled sales force that helps customers design new applications for their materials is primarily
    responsible for sales. Companies compete first based on their ability to meet customer product specifications,
    and secondarily on price.

   What challenges has the company experienced in hiring and retaining employees with adequate
   technical training?
   Plastic and rubber product manufacturers use technologies ranging from information management tools to
   computer modeling software.

   What training do new employees receive?
   Continuing training can help keep employees up-to-date with technological advances related to
   manufacturing processes and quality control.

   Financial Analysis
   What is the average profit on a customer order?
   The lack of bargaining power of smaller plastic suppliers with consolidated manufacturing industries can lead
   to lower marginal profit on contracts.

   What is the average size of an order?
   More warehousing and inventory costs for fewer larger product runs, or more delivery and setup costs for
   more frequent smaller product runs are both extra cost burdens on the supplier.

   How does the company manage price fluctuations for raw materials?
   Prices for plastic resins tend to fluctuate with crude oil and natural gas prices.

   Business and Technology Strategies
   How much growth does the company expect in its major end-use markets?
   Most companies make products for just a few end-use markets.

   What new products or applications for existing products is the company developing?
   Plastics are making inroads in markets that use metals or glass.

   What acquisition opportunities or other expansion strategies has the company explored?
   Because products often have specialized applications or are made to customer specifications, most
   manufacturers remain small, partly because few economies of scale are gained by combining companies.




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    How much capital investment does the company expect to make in the next few years?
    Most producers specialize in a few product lines, because expensive equipment and significant tooling may be
    needed to manufacture to customer specifications.

    Executive Insight
    Chief Executive Officer - CEO
    Using Recycled Product as Feedstock
    Companies are developing new ways to incorporate post-consumer, recycled plastic as feedstock for making
    new products. As environmental concerns over such issues as pollution and consumption ofnon-renewable
    resources grow, consumer demand for products utilizing recycled materials could increase.

   Developing New Products for Existing Markets
   The auto industry continues to enhance vehicle mileage by displacing expensive, heavy metal parts with
   lighter, cheaper plastics. Plastics can account for about 10 percent ofa vehicle's gross weight Plastics are
   used in automotive applications ranging from intelior components to engine parts.

   ChiefFinancial Officer - CFO
   Implementing Product Improvement Programs
   Because a short-term product life cycle is the industry norm, continuous improvement in manufacturing can
   achieve ongoing cost savings. Companies occasionally launch operational improvement programs to reduce
   costs, inventory, and lead times to offer better service and quality. Such programs can often lead to millions in
   cost reductions and other savings.

   Re-evaluating Product Lines
   In an industry with hundreds ofmarket niches, acquisitions are frequent as companies try to enter new
   markets and secure their position in existing ones. Companies also dispose oflow margin product lines after
   assessing their strategic importance. Increased raw material costs or geographic shifts in demand may also
   prompt companies to seek acquisitions or disposals.

   Chief Information Officer - CIO
   CUtting Pollution Emissions
   The industry has historical issues with air pollution and ground contamination, particularly with butadiene.
   An ongoing industry effort is to reduce emissions by curtailing releases from a variety of equipment,
   enhancing monitoring, and improving leak inspections. Some companies have installed fence-line monitors
   and infrared cameras to hunt down leaks, and submit more frequent reports about their emissions to
   applicable regulatory authorities.

   Keeping Pace with Technological Advances
   Rapid technological innovation characterizes the industry and is vital given the short product life cycle of
   many plastics. Customers expect reduced production times and an ability to adapt to customer-specific uses.
   Companies use CAD and 3D product simulation software to speed design, model processes and product
   characteristics, and track changes in costs as products are redesigned. Awareness ofadvances in design,
   simulation, testing, and process control software is necessary to maintain competitiveness.

   Human Resources - HR




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    Improving Plant Safety
    The rate of illness and injury in the plastic and rubber products manufacturing industry is higher than the
    national average. Heat, chemicals, and fast-moving machinery can contribute to an environment where
    accidents occur. Material Safety Data Sheets (MSDS) also keep workers informed about hazardous substances
    in the workplace.

    Involving Employees in Quality Assurance
    Employee involvement and teamwork can be crucial components of quality control, a chief concern of plastic
    and rubber product manufacturers. Cross-functional teams devoted to process improvement and training can
    help companies maintain and improve quality.

    VP Sales/Marketing - Sales
    Finding Additional Product Applications
   Shortened product life cycles encourage sales executives to find other applications for existing products.
   Demand for plastics has increased in many industries due to a preference for lightweight components;
   plastics are replacing brass, aluminum, and other metals in US manufacturing. Plastics companies are
   marketing products in applications historically served by glass and metal such as containers, for food, and in
   medical supplies.

   Reformulating Products for Expanding Markets
   Expanding opportunities exist in such markets as building and construction, automotive, and electronics.
   With changing technology, companies are reformulating products with new properties that make them
   suitable for new uses. Bioplastics, for example, are being developed to replace petroleum-based polymers.

   Executive Conversation Starters
   Chief Executive Officer - CEO
   How does the company use recycled products?
   Companies are developing new ways to incorporate post-consumer, recycled plastic as feedstock for making
   new products.

   What new products has the company developed?
   Plastics are used in automotive applications ranging from interior components to engine parts.

   Chief Financial Officer - CFO
   What product improvement programs has the company introduced?
   Some companies have developed programs to reduce costs and product lead times to improve service and
   quality.

   What product lines has the company examined and re-evaluated?
   Companies dispose of low margin product lines after assessing their strategic importance.

   Chief Information Officer · CIO
   How has the company reduced its pollution emissions?
   Some companies have installed fence-line monitors and infrared cameras to find leaks.




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                                                                                                 PX 31, 3198
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        .aat types of customer-specific products has the company developed?
    .<.apid technological innovation enables companies to create customer-specific products with reduced
    production times.

    Human Resources HR
    How is the company improving its safety record?
    The rate of illness and injury in the plastic and rubber products manufacturing industry is higher than the
    national average.

   How is the firm improving internal processes?
   Cross-functional teams devoted to process improvement and training can help companies maintain and
   improve quality.

   VP Sales/Marketing · Sales
   What new product applications is the company exploring?
   Plastics companies are marketing their products in applications historically served by glass and metal.

   What new markets is the company entering?
   With changing technology, many companies are reformulating products to make them suitable for new uses.

   Financial Information
   f.OMPANY BENCHMARK TRENDS

   Quick Ratio by Company Size

   The quick ratio, also known as the acid test ratio, measures a company's ability to meet short-term
   obligations with liquid assets. The higher the ratio, the better; a number below 1 signals financial
   distress. Use the quick ratio to determine if companies in an industry are t"ypically able to pay off
   t'1e:r current liabilities.

              2


            1.6·--


            1.2 ·...-
                        1.23           1.26               1.2C             1.21
            0.8                ;   .                                                I•-

                                                                                          Waining
            0.4·




                        All            Large            Medium            Small

                                                Quick Ratio 1




                                                                                                                  31
  CS-0215                                                                                            Attachment A
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    Financial industry data provided by MicroBilt Corporation collected from 32 different data sources
    and represents financial performance of over 4.5 million privately held businesses and detailed
    industry financial benchmarks of companies in over 900 industries (SIC and NAICS). More data
    available by subscription or single report purchase at www.microbiltcom/firstresearch.

    Working Capital Turnover by Company Size

    The working capital turnover ratio, also known as working capital to sales, is a measure of how
    efficiently a company uses its capital to generate sales. Companies should be compared to others in
    their industry.

             2


            1.6


            1.2


            0.8


            0.4
                        0.18                  0.19                      0.18             0.18


             �
                       All                 Large                    Medium            Small

                                                   !Qfolking Capital Turnover ,




   Financial industry data provided by MicroBilt Corporation collected from 32 different data sources
   and represents financial performance of over 4.5 million privately held businesses and detailed
   industry financial benchmarks of companies in over 900 industries (SIC and NAICS). More data
   available by subscription or single report purchase at www.microbiltcom/firstresearch.

   Current Liabilities to Net Worth by Company Size

   The ratio of current liabilities to net worth, also called current liabilities to equity, indicates the
   amount due creditors within a year as a percentage of stockholders' equity in a company. A high
   ratio (above 80 percent) can indicate trouble.




                                                                                                               32
  CS-0216                                                                                              Attachment A
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             2


            1.6


            1.2


            0.8
                                                                               ,ii

                                                                                     0.70
            0.4-
                      0.58
                                        0.51

             ll
                                                                                                 I
                      AH               Large                  Medium                 Small

                                          Current Liabilities To Net Worth




   Financial industJy data provided by MicroBilt Corporation collected from 32 different data sources
   and represents financial performance of over 4.5 million privately held businesses and detailed
   industJy financial benchmarks of companies in over 900 industries (SIC and NAICS). More data
   available by subscription or single report purchase at www.microbiltcom/firstresearch.
   COMPANY BENCHMARK INFORMATION
   NAICS:326
    Data Period: 2013                                                               Last Update February 2015
    Table Data F onnat                                                                                         Mean


    Company Size                                              All            Large           Medium            Small
    Size by Revenue                                                     Over$50M        $SM· $SOM        Under $SM
    Company Count                                          9686                163             1296            8227


     Income Statemenr
                        I
                        l                                                                                  -
    Net Sales                                             100%               100%             100%             100%
    Gross Margin                                         28.0%               28.5%            26.9%            29.1%
    Officer Compensation                                   2.1%               1.7%             2.1%            2.9%
    Advertising & Sales                                    0.4%               0.4%             0.4%             0.4%
    Other Operating Expenses                             21.5%               22.2%            20.5%            21.8%
    Operating Expenses                                   23.9%               24.3%            23.0%            25.1%
    Operating Income                                       4.1%               4.1%             4.0%            4.0%
    Net Income                                             2.0%              2.0%              2.0%            2.1 %


                 I
     Balance Sheet
                 I
    Cash                                                   7.1%              6.7%              7.3%            7.7%




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  CS-0217                                                                                              Attachment A
                                                                                                      PX 31, 3201
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                                                        24.5%            24.3%            24.3%            25.3%
   Accounts Receivable
                                                        21.4%            21.1%            21.7%            21.7%
   Inventory
                                                        59.5%            58.9%            59.6%            61.0%
   Total Current Assets
                                                        23.0%            22.4%            23.8%            22.4%
    Property, Plant & Equipment
                                                         17.6%           18.7%            16.6%            16.6%
    Other Non-Current Assets
                                                       100.0%           100.0%           100.0%           100.0%
    Total Assets
                                                         12.5%           12.1%            12.8%            13.0%
   Accounts Payable
                                                         27.4%           26.3%            28.0%            28.9%
    Total Current Liabilities
                                                         25.3%           22.3%            27.0%            29.8%
    Total Long Term Liabilities
                                                         47.3%           51.4%            45.1%            41.3%
    Net Worth


     Financial Ratio�
     {Click on any ratio for comp:rchl!n�ivc.> definitions)
                      I
                                                              1.23          1.26             1.20            1.21
    Quick Ratio
                                                              2.17          2.23             2.13            2.11
    Current Ratio
                                                         57.8%            51.3%            62.0%           69.9%
    Current Liabilities to Net Worth
                                                          xl.28            xl.25           xl.29            xl.33
    Current Liabilities to Inventory
                                                          xl.11            x0.95           xl.22            xl.42
    Total Debt to Net Worth
                                                          x0.48            x0.44            x0.53           x0.54
    Fixed Assets to Net Worth
                                                               49             49               48              51
    Days Accounts Receivable
                                                          x6.17            x6.17            x6.27           xS.95
    Inventory Turnover
                                                         56.6%            57.1%            55.8%            56.9%
    Total Assets to Sales
                                                         18.2%            18.6%            17.7%            18.3%
    Working Capital to Sales
                                                           6.8%            6.6%             6.9%             7.2%
    Accounts Payable to Sales
                                                           3.2%            3.2%             3.2%             3.3%
    Pre-Tax Return on Sales
                                                              5.7%         5.6%             5.7%             5.8%
    Pre-Tax Return on Assets
                                                          12.0%           10.9%            12.7%            14.1%
    Pre-Tax Return on Net Worth
                                                          x4.26            x3.96            x4.47            x4.77
    Interest Coverage
                                                              8.3%          8.5%            8.0%             8.3%
    EBITDA to Sales
                                                              5.4%          5.6%            5.2%             5.3%
    Capital Expenditures to Sales



                                                                               32 different data sources and
    Financial industry data provided by MicroBilt Corporation collected from
    represents financial performance of over 4.5 million p rivately held businesses and detailed industry financial
                                                      (               )           available by subscription or
    benchmarks of companies in over 900 industries SIC and NAICS . More data
    single report purchase at www.microbiltcom/firstresearch.
    ECONOMIC STATISTICS AND INFORMATION
    Annual Construction Put into Place - Census Bureau




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  CS-0218                                                                                            Attachment A
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               2005      2006    2007     2008     2009    2010     2011    2012        2013     2014         Jan
                                                                                                               15
                                 i-
                                      Manufacturing- Plastidru bber facilities          Total LIS


    Index oflndustrial Production - Federal Reserve Board


       fl'l6 --------------
                 ;1'1&


      -6'lft -----=="




               2005      200f!    2007      2008    2009     2010    2011        2012       2013         2014      Feb 15

                                          G326 Plastics and rubb!3 produds               Total US


   Change in Producer Prices - Bureau ofLabor Statistics
     12%

      S'l6. �----··--·---

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                                                                                                                        /




               2005      2006    2007      2008     2009    2010     2011        2012     2013           2014 Feb ·15

                                         PCU326 Plastic and rubber producls             Total US


   VALUATION MULTIPLES
    Plastic & Rubber Product Manufacturing

    Acquisition multiples below are calculated using at least 14 US private, middle-market (valued at less than $1
    billion) industry asset transactions completed between 5/2005 and 3/2014. Data updated annually. Last
    updated: November 2014.




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                                                      MVtC/Gross
      Valuation Multiple
                               MVIC/Nct Sales         Profit               I   MVIC/EBJT          �MC/F.BITDA

     Median Value                               0.5                  1.4                   5.2                    4.1

     MVIC [Market Value of Invested Capital) = Also known as the selling price, the MVIC is the total consideration
     paid to the seller and includes any cash, notes and/or securities that were used as a form of payment plus any
     interest-bearing liabilities assumed by the buyer.
     Net Sales = Annual Gross Sales, net of returns and discounts allowed, if any.
     Gross Profit = Net Sales - Cost of Goods Sold
     EBIT = Operating Profit
     EBITDA = Operating Profit+ Noncash Charges




   SOURCE: Pratt's Stats, 2014 (Portland, OR: Business Valuation Resources, LLC). Used with permission. Pratt's Stats
   is available athttps://www.bvresources.com/prattsstats
   Industry Websites
   Canadian Plastics Industry Association
   Industry news.

   Plastics Division of the American Chemistry Council (ACC)
   Industry statistics.

   Plastics Machining & Fabricating Magazine
   News, feature articles, events, and links.

   Plastics Technology magazine
   Today's top news and feature articles on mergers and acquisitions, technology, US and global business.

   Plastics.com
   Industry news, links, and manufacturer rankings.

   PlasticsNews.com
   Industry news.

   Rubber Manufacturers Association
   Publications, links, market information services, and government news.

   Rubber Statistics - International Rubber Study Group
   Spreadsheets and reports on the production, consumption, and prices of natural and synthetic rubber.

   RubberNews.com
   Rubber and plastics industry news.

   RubberWorld.com
   Industry news and manufacturer information.




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  CS-0220                                                                                         Attachment A
                                                                                                 PX 31, 3204
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    The Rubber Association of Canada
    News and market information.

    The Society of the Plastics Industry
    Basic industry information, definitions, statistics. Excellent industry issues.

    The Vinyl Institute
    News, definitions and uses of vinyl, environmental issues, and publications.

    Glossary of Acronyms
    BPA - bisphenol A

   BR- polybutadiene

   CR - polychloropene

   EPR - ethylene propylene rubber

   HDPE - high-density polyethylene

   IIR- butyl

   MSDS - Material Safety Data Sheets

   NBR - acrylonitrile butadiene rubber

   NESHAP - National Emission Standards for Hazardous Pollutants

   NSR - new source review

   PET - polyethylene terephthalate

   PNC - plastic nanocomposites

   PP - polypropylene

   PVC - polyvinyl chloride

   SBR - styrene butadiene

   JNDUSTRY PROl-'IU:                                                                                '

   Consumer Electronics &Appliances Stores
   2.16.2015
   NAICS CODES: 4431
   SIC CODES: 5045, 5064, 5065, 5722, 5731, 5734, 5946




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    Industry Overview
    Companies in this industry sell household appliances, cameras, computers, and other electronic goods. Major
    companies Best Buy, RadioShack, and the retail operations of Apple, Conn's, and hhgregg (all based in the US),
    as well as Dixons (UK), Gome [China), and Yamada Denki Qapan).

    Worldwide, emerging economies with growing middle classes have the greatest potential for growth in retail
    sales of consumer electronics and appliances. Brazil, India, and China are among the countries expected to see
    retail expansion. Central Europe, Africa, and the Middle East are also being targeted for growth.

    The US consumer electronics and appliance store industry includes about 50,000 stores with combined
    annual revenue of about $100 billion.

   Competitive Landscape
   Technological innovation and the need to replace or upgrade products drive demand, which also depends
   on consumer disposable income. Profitability for individual companies depends on the ability to
   generate store traffic and repeat business, as well as effective merchandising. Large companies enjoy
   economies of scale in purchasing and marketing. Small companies can compete effectively by offering
   specialized products or superior customer service. The US industry is concentrated: the 50 largest
   companies account for 70 percent of sales.

   Competitors of consumer electronics stores include discount stores, warehouse clubs, department stores,
   Internet and mail order retailers, and specialty office and computer retailers.

   Products, Operations & Technology
   Major product segments include computer equipment. TVs, and major household appliances. Other products
   include video equipment [video recorders, DVD players, and electronic games), audio equipment [home and
   auto sound systems, home theater systems, and accessories), and telephones (including wireless phones and
   smartphones). The industry typically refers to large appliances other than TVs, including such items as
   refrigerators and washing machines, as "white goods." Consumer electronics and appliance stores may also
   generate revenue from installation and repair or maintenance agreements, along with resale of third-party
   wireless phone, Internet access, or satellite TV or radio service.

   Consumer electronics and appliance retailers include national and regional chains and independent retailers.
   Major chains and some regional chains may offer a "superstore" format. which can exceed 30,000 square
   feet Superstores are most often located in large strip malls in high traffic areas. Other chains may have
   smaller retail locations ranging from 1,500 to 10,000 square feet. located in indoor shopping or smaller strip
   malls. Chains may also offer a limited selection of products through kiosks (about 90 square feet) in other
   retail locations. Independent stores vary widely in size, from a few thousand square feet to larger than a
   typical superstore.

   Many stores carry high levels of inventory for expensive items like plasma screen TVs and personal computer
   systems to avoid out-of-stocks. Inventory management and sales forecasting are critical to profitability,
   as rapid advances in technology can significantly decrease demand for older products. In contrast, during the
   winter holiday, demand for "hot'' products like new video game systems and portable music systems can
   exceed supply. Many large chains offer private-label products to fill gaps in existing product offerings.




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    Most large retailers buy directly from large manufacturers like Sony, Panasonic, Hewlett-Packard, and
    Toshiba. Independent retailers buy through established buying groups like Nationwide and Resource Plus
    to increase individual buying power. In most product segments of the consumer electronics industry,
    suppliers are highly concentrated: Best Buy relies on just five suppliers for about 45 percent of total
    merchandise. For highly anticipated new products like game systems or video games, retailers may place
    advance orders to guarantee supply.

    Technology

    Large retailers use integrated computer systems to manage point-of-sale transactions and inventory
    management, which allow for automatic replenishment at the store level. Some systems integrate online
    orders, and allow for in-store pickup or direct shipment

   Advances in technology drive sales of new electronic products. For example, new digital technology
   created the market for products like MP3 players and HDTVs, and increased microprocessor power drives
   demand for newer computers and gaming systems with better graphics and higher performance. Household
   appliances like washers, dryers, and dishwashers with advanced microchips and sensors can typically
   perform more efficiently than older products.

   More and more devices other than computers are being connected to the Internet, creating what is commonly
   referred to as the Internet of Things. The wave of new Internet-enabled electronics, including wristwatches,
   fitness trackers, home safety and security systems, and appliances, should provide consumer electronics and
   appliances stores with new revenue opportunities. Issues that could impede faster adoption of wearable and
   embedded Internet devices include conflicting wireless standards and privacy concerns.

   Sales & Marketing
   The traditional demographic for the consumer electronics store customer varies depending on product
   specialization. For high-end computer and video products, a typical customer is an affluent, professional man.
   Fa.'llilies \vith children, professional women, and small businesses also are important customer segments for
   categories like digital cameras, video recorders, and computers.

   Marketing and promotional vehicles include TV, newspaper, radio, and Internet advertising, direct mail, and
   in-store events. Retailers frequently use discounts, rebates, and other promotions to generate store traffic
   and establish competitive pricing with mass merchandisers and Internet retailers. Major chains may have
   loyalty programs that reward repeat customers and collect information on buying trends.

   The technical nature of many electronic products requires professional installation services and trained
   sales associates able to explain complicated features to customers. Superior customer service generates
   repeat business and allows higher-priced independent stores to compete effectively against major chains.

   Most major chains have retail Internet operations, and may link to other websites, such as Amazon.com, to
   drive online sales. Many customers use store websites to research products and compare prices. Customers
   may have the option of having purchases shipped directly or picked up at the nearest retail location.
   Specialized retailers have leveraged the Internet by selling products like used video games and refurbished
   computers, which have limited availability.




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    Finance & Regulation
    Cash flow is seasonal, with sales volume peaking during the winter holidays. Chains can generate between
    50 to 100 percent of earnings during fourth quarter. Inventories also vary, typically increasing during third
    quarter in preparation for holiday sales. Although customers may require financing for high-ticket items,
    receivables are typically low, since many chains offer branded third party credit cards at the point of
    purchase. The North American Retail Dealers Association (NARDA) offers consumer credit for independent
    stores. For the industry overall, accounts receivable average 30 days sales.

    Superstores typically have leases that run up to 20 years. Mall-based stores have leases that average five to
    10 years; those in smaller strip malls average three to five years. Leases typically include a base rent
    payment, maintenance and advertising fees, and possibly a percentage of sales. Retailers may require capital
    to expand or upgrade stores.

   Gross margins average about one-third of net sales. Retailers often take lower margins on products like
   computer hardware and game systems to drive sales of complementary software and video games with
   higher margins. Retailers typically receive residual payments for sales of wireless phone service through a
   third party provider.

   Federal and state laws regulate the consumer credit business. Consumer electronics and appliance stores are
   also regulated by federal and state labor laws, as well as state and local regulations for zoning and business
   permits. The National Appliance Energy Conservation Act of 1987 affects products and pricing by limiting
   energy consumption of new appliances. In addition, EPA regulations can affect store operations as well as the
   design and price of a variety of products.

   The FCC regulates communication by radio, TV, wire, satellite, and cable. FCC policies regarding wireless
   phone and digital video signals have significant implications for electronics stores. For example, the 2009
   mandate to convert to an all-digital video signal generated considerable demand for digital TVs and virtually
   eliminated demand for analog sets.

   International Insights
   Emerging economies with growing middle classes have the greatest potential for retail sales growth. Brazil,
   India, and China are among the countries expected to see retail expansion. Central Europe, Africa, and the
   Middle East are also being targeted for growth. Major consumer electronics and appliances retailers based
   outside the US include Dixons (UK), Gome (China), and Yamada Denki Oapan).

   Some large, US-based chains have retail operations outside the country, primarily in Canada. Operating
   internationally comes with a number of risks and challenges related to supply chain logistics, local staffing,
   currency exchange rates, and regulatory environments.

   Given the significant volume of consumer electronics products produced in Asia, large consumer electronics
   and appliance retailers operate global sourcing offices in countries such as China, Hong Kong, and Taiwan.
   Change in Dollar Value of US Trade - US International Trade Commission
   Imports of consumer electronics to the US come primarily from China, Mexico, Japan,
   Thailand, and Malaysia. Major export markets for US consumer electronics include
   Canada, Mexico, Hong Kong, Japan, and China.




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   Regional Highlights
   Most US consumer electronics and appliance stores are located in fast-growing, densely populated, relatively
   affluent, suburban and urban areas. California, Texas• .Elnri.d.a, New York, and Illinois have the most
   establishments.

   Human Resources
   Seasonal sales make stores reliant on part-time labor, especially during the winter holiday. Average hourly
   industry wages are about the same as the national average. Some store sales staff are on commission. Sales
   staff training is important due to the technical nature and high cost of most electronics.

   A typical superstore has a manager; several assistant managers [including a sales manager}; and up to 100
   full and part-time employees, who cover sales, sales support, and technical service functions. Smaller stores
   may have a manager, up to two assistant managers, up to 30 full- and part-time sales associates, and up to 15
   technical and administrative support staff. The employee injury rate at consumer electronics and appliance
   stores is significantly lower than the US average.




   Industry Employment Growth
   Bureau ofLabor Statistics




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   Average Hourly Earnings &Annual Wage Increase
   Bureau of Labor Statistics
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            2005-   2006   2()07         2008    2009   2010     2011    2012     2013       2014 Jan 15

                      CEU4.244300008 EleclroniCEi an1f appliance stores            National Average




   Industry Growth Rating

                       �]

   Demand: New products drive consumer demand
   Need store traffic and good merchandising
   Risk: Economic health affects spending on non-essential electronics




   Quarterly Industry Update
   2.16.2015


   Trend: Best Buy Shifts Focus to Digital Marketing - Best Buy's decision to sit out the last two Super
   Bowls signals a continuing shift away from star-studded, high-dollar ad campaigns and toward targeted



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    digital marketing in hopes of reviving sales. The consumer electronics giant's approach to marketing is taking
    a more personal approach with the development of a customer database called Athena. Athena can send
    tailored marketing messages to consumers based on their prior purchases, browsing histories, location, and
    demographics. BestBuy's new digital marketing plan aims to better engage customers for its loyalty program
    and credit card offering. The retailer has been struggling to grow same-store sales in recent years and has
    been closing unprofitable stores in US and international markets. The company hired a new chief marketing
    officer with experience in targeted digital marketing in late 2014, according to the Minneapolis StarTribune.

    Industry Impact - Consumer electronics retailers may want to consider expanding the role of digital
    communications as a way to improve their marketing efforts and drive sales.

    11.17.2014
    Opportunity: RadioShack Expands Device Repair Business - Looking to breathe life into its business,
   RadioShack recently launched a same-day repair service called Fix It Here focused on tablets and
   smartphones. Already in 500 stores, the mobile device repair program is to be expanded to 700 stores
   nationwide by 2015. The service addresses problems such as cracked screens, battery replacement, and
   camera issues. In-house technicians make the repairs, which are priced beginning at $39.99 and include a 90-
   day warranty.

   Industry Impact - Consumer electronics retailers may want to consider expanding repair services to drive
   traffic to stores.

   8.25.2014
   Challenge: Retailers Worry as Tablet Sales Slow - Once an exciting growth prospect for consumer
   electronics stores, tablet sales have slowed significantly recently causing concerns for retailers and
   manufacturers. Market research firm JDC reported that tablet shipments were forecast to grow by 11 percent
   year-over-year in second quarter 2014 compared to the same period in 2013. That growth rate is significantly
   less than the previous year, which saw growth of 52 percent year-over-year. Tablet challenges include the
   failure of emerging markets to broadly adopt tablets. Consumers also don't feel compelled to buy newer
   tablet models. In addition, smartphone screens are getting bigger and closer to tablet size. Best Buy
   executives recently predicted that laptops would experience a revival because of their increased versatility,
   while tablet sales would continue to lag.

   Industry Impact - Consumer electronics stores that were counting on tablets as a source of growth will need
   to look to other products to fill in the gap.

   5.26.2014
   Opportunity: Growth Projected for Wearable Computing Market - Sales of wearable computing
   devices, a potential growth category for consumer electronics and appliance stores, are expected to increase
   rapidly over the next five years. Worldwide shipments of wearables will reach 19.2 units in 2014 and increase
   to nearly 112 million units in 2018, according to a report by market intelligence firm IDC. Released in April
   2014, the forecast includes both wearable accessories and more complex "smart wearables." (Accessories
   such as fitness bands can operate independently but are designed to be used with a smartphone, PC, or tablet,
   while Google Glass and other smart wearables function with full autonomy.) Accessories will lead the
   wearables category through 2018; shipments of smart wearables are not expected to reach millions of units
   until 2016.



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        Industry Impact - Growing demand for wearable computing devices should help consumer electronics
        stores offset declining sales in mature categories such as traditional PCs.

        Industry Indicators
        US consumer spending on durable goods, an indicator of consumer electronic sales, fell 2.8 percent in January
        2015 compared to the same month in 2014.

        US personal income, which drives consumer ability to purchase luxury electronics, rose 4.6 percent in January
        2015 compared to the same month in 2014.

        US retail sales for electronics and appliance stores, a potential measure of demand for consumer electronics,
        increased 2 percent in the first two months of 2015 compared to the same period in 2014.

        Industry Forecast
        US personal consumption expenditures on electronic entertainment, musical instruments, and home
        computers are forecast to grow at an annual compounded rate of 4 percent between 2015 and 2019. Data
        Published: February 2015



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                    2014      2.015      2016         2017        2018         2019




        First Research forecasts are based on INFORUM forecasts that are licensed from the Interindustry Economic
        Research Fund, Inc. (IERF) in College Park, MD. INFORUM's "interindustry-macro" approach to modeling the
        economy captures the links between industries and the aggregate economy. Forecast FAOs

        Companies
 Compan                                                                   jcount+                     I Slllcs

BEST BUY CO.. INC,                                                                    United States              $40,339.00M
YAMADA DENKI CO.. LTD,                                                                       Japan               $18,380.99M
Cdw Coa,oration                                                                       United States              $12,074.SOM
Via Varejo SIA.                                                                              Brazil               $9,291.75M
Gome Electrii;;al Applian&�li Uohlinr: Limited                                          Hong Kong                 $9,227.lSM
BIC CAMERA INC,                                                                               Japan               $7,969.72M
EDION CORPORATION                                                                             Japan               $7,440.BlM
T-GAIA CORPORATION                                                                            Japan               $6,861.47M



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ARGOSLTD                                                                                 England             $6,756.95M
Gru,po Elektra, S.A.B. de C.V,                                                            Mexico             $5,409.57M
Insieht Enterprises. Inc.                                                           United States            $5,316.23M
Darty Pie                                                                                England             $4,951.03M
Dixons Carphone plc                                                                      England             $4,288.27M
Systemax Inc,                                                                       United States            $3,442.80M
1B HI-FI LIMITED                                                                        Australia            $3,279.63M
CONEXIO CORPORATION                                                                        Japan             $2,837.39M
NEWEGGINC,                                                                          United States            $2,700.00M
PC Connection. Inc.                                                                 United States            $2,463.34M
HHGREGG, INC.                                                                       United States            $2,338.57M
NOJIMA CORPORATION                                                                         Japan             $2,119.59M
BEST DENKI CO,, LTD.                                                                       Japan             $1,692.73M
KITAMURA CO., LTD,                                                                         Japan             $1,475.91M
HARVEY NORMAN HOLDINGS LTD                                                              Australia            $1,424.96M
Pcm.Inc.                                                                            United States            $1,424.20M
Glentel Inc                                                                              Canada              $1,277.52M
CONN'S ,INC.                                                                       United States             $1,193.77M
Carahsoft Technoloif Com,                                                          United States             $1,000.00M
BELL-PARK CO,,LTD.                                                                         Japan              $800.33M
Beijing Zhongke Sbouran Technolllif Co., L td,                                             China              $595.29M
PC DEPOT CORPORATION                                                                       Japan              $522.28M
       I11dustry Drivers
       Changes in the economic environment that may po�itively or negatively affect industry growth.

        •
       Data provided by First Research analysts and reviewed annually

         _$_;
       Consumer Spending Change in overall level of consumer spending on goods and services




       Technology Innovation Advances in science and technology, including information technology

       Critical Issues
       Market Saturation of Key Products - High household penetration of key products can slow growth for
       retailers, meaning consumer electronics and appliance stores must rely on replacement or upgrade sales.
       Almost every US household owns a refrigerator and a range, and many own washers and dryers, according to
       the Association of Home Appliance Manufacturers (AHAM}. Retailers must rely on replacement sales and
       significant advances in technology to entice consumers to upgrade.




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    Significant Declines in Retail Prices - Retail prices for major consumer electronics segments have been
    declining. Between 2009 and 2013, the average retail price for televisions dropped by more than 50 percent.
    Electronics vendors have historically relied on increased volume to compensate for price declines, but growth
    in volume is hard to achieve for products with high market penetration.

    Business Challenges
    Showrooming - The practice of consumers browsing for products in traditional stores only to buy them
    online, a phenomenon lmown as showrooming, is cutting into brick and mortar sales. Some retailers have
    instituted online price-matching programs to combat the problem. However, traditional consumer electronics
    and appliance stores, which typically have higher overhead costs than their online-only competitors, may be
    challenged to maintain adequate profit margins. Some traditional stores have also worked with
    manufacturers to develop unique products and SKU designations to thwart price comparisons.

   Competition from Alternative Channels - Consumer electronics and appliance stores face heavy
   competition from numerous other channels, including warehouse clubs, mass merchandisers, department
   stores, and Internet and mail order retailers. Alternative channels will continue to threaten brick-and-mortar
   electronics stores, as entry-level electronic products become less complex and easier to sell.

   Significant Impact of Imports - Imports of consumer electronics and appliances into the US can have a
   significant impact on electronics and appliances retailers. Most electronic products manufacturers are either
   large foreign companies or US companies with some foreign manufacturing operations. The US imported
   more than $35 billion worth of audio and video equipment in 2013, primarily from China and Mexico.
   Imports of major appliances nearly doubled between 2003 and 2013, a trend that has helped drive down
   retail prices.

   Technological Advances Help Drive Growth - Retailers may depend on new products incorporating the
   latest technological innovations to help drive increased sales. Sales of tablet computers, for instance, have
   helped offset declines in traditional computer categories. Products with new features may also entice
   consumers to replace their older appliances and electronic devices. Retailers may struggle to predict product
   lifecycles to reduce or eliminate excess inventory before a new model is introduced.

   Industry Concentration - The top 50 consumer electronics and appliance retailers account for about 70
   percent of US industry sales. Purchasing power allows large retailers to negotiate volume discounts with
   suppliers and offer deep discounts to consumers. Without the volume or resources to compete on price,
   independent retailers have survived by providing the customer service needed to sell expensive and often
   complicated electronic products.

   Seasonal Sales - Large consumer electronics and appliances retailers may generate between a third to half
   to net sales during fourth quarter. Consumers often wait until the winter holidays to buy items like MP3
   players, digital cameras, plasma screen TVs, and major appliances. Delays in key product introductions (like
   video game systems), combined with price competition from other retailers, can contribute to soft sales
   during the holidays, adversely affecting financial results for the entire year.

   Business Trends
   Growth of Wireless, Mobile Segments - Expanding wireless networks provide wide-ranging access to the
   Internet and phone networks. Consumers and businesses are becoming more accustomed to communicating



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    and accessing information without being tied to a physical location. The functionality of wireless devices is
    improving, as advances in technology allow more complicated tasks, such as capturing and transmitting voice,
    data, and video, to be executed more efficiently. Two-thirds of US households now own smartphones,
    according to the CEA.

    Expanding Use of Electronic Media - More consumers are spending time surfing the Internet, playing
    video games, and listening to music using electronic devices. Most American households have access to
    broadband Internet service. About 70 percent of electronic game players are older than 18, according to the
    Entertainment Software Association. Falling prices and more user-friendly products have made consumer
    electronics more accessible to the average consumer.

   Transition to Digital Technology - Digital technology has revolutionized almost every segment of the
   electronic products industry and continues to drive the pace of new product introductions. Manufacturers
   have leveraged digital technology to improve picture and sound quality of products like TVs, cameras, and
   audio devices.Advances in digital technology are shortening product life cycles and increasing product
   proliferation.

   Declining Employment - Employment at US consumer electronics and appliances stores fell by more than
   10 percent between 2003 and 2013. Competition from mass merchandisers and online retailers may have
   forced some regional chains and independent stores to close. At the same time, productivity gains thanks to
   automation and computerized systems means fewer employees are need at each store location.

   Industry Opportunities
   Targeting Early Adopters - Early adopters, the first consumers to buy new technology, represent a
   potentially profit.able segment for retailers because they generally spend more on electronics than other
   customers. In addition to spending more, early adopters tend to own more devices and consume more media
   (audio, video, apps). Most important for retailers, early adopters plan to continue purchasing additional
   devices in the future and can be valuable sources of repeat business if their loyalty can be secured.

   Technical Services -As household penetration for more complex consumer electronics offerings grows,
   demand for technical installation and repair services should increase. Some product offerings, like home
   computer networks and home theater systems, may be too complex for the average consumer to install or fix.
   By offering installation and repair services, electronics retailers provide one-stop shopping for
   technologically challenged consumers.

   End-User Education - Offering training classes for beginners and experts can help consumer electronics
   stores provide added value and develop customer loyalty. Increasingly widespread use of computers has
   driven the need for end-user education. While advances in technology have simplified basic hardware and
   software operations, experienced users may need training to fully leverage new features and functions. New
   users may require formal training to learn the basics.

   Complementary Product Sales - Consumer electronics and appliance retailers can increase sales by
   recommending complementary products when selling high-ticket items. Electronics retailers can realize
   incremental sales by focusing on extended warranties and complementary products like flash memory and
   printer ink.




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    Call Prep Questions
    Conversation Starters
    How important are replacement and upgrade sales to the company?
    High household penetration of key products can slow growth for retailers, meaning consumer electronics and
    appliance stores must rely on replacement or upgrade sales.

    How have declining retail prices affected the company?
    Retail prices for major consumer electronics segments have been declining.

    How does the company deal with increasing competition from online-only retailers?
    The practice of consumers browsing for products in traditional stores only to buy them online, a phenomenon
    known as shO\vrooming, is cutting into brick and mortar sales.

    What opportunities does the company see in targeting early adopters?
    Early adopters, the first consumers to buy new technology, represent a potentially profitable segment for
    retailers because they generally spend more on electronics than other customers.

   How important are technical and installation services to the company?
   As household penetration for more complex consumer electronics offerings grows, demand for technical
   installation and repair services should increase.

   What additional services could the company offer to attract customers?
   Offering training classes for beginners and experts can help consumer electronics stores provide added value
   and develop customer loyalty.

   Quarterly Industry Update
   What percentage of the company's marketing budget is spent on digital initiatives?
   Best Buy is shifting some of its marketing dollars from conventional channels to the development of a
   customer database that sends tailored marketing messages to customers.

   Operations, Products, and Facilities
   What product segments are most important to the company?
   Companies may carry computer equipment, TVs, and major household appliances.

   How big is a typical store?
   Superstores can exceed 30,000 square feet; chains range from 1,500 to 10,000; independent stores vary.

   How does the company balance minimizing excess inventory and avoiding out-of-stocks?
   High levels of inventory help avoid out-of-stocks but carry the risk of product obsolescence, due to the short
   life cycle of certain products.

   How does the company manage increased demand for popular products during the winter
   holiday?
   Companies may place advance orders for popular products.




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    How important are private-label products to the company?
    Many large chains carry private-label products.

    How does the company manage relationships with major suppliers?
    Many retailers rely on products from a small number of suppliers due to the concentration of manufacturers.

    How have advances in technology affected the company's merchandising strategy?
    Digital technology has created new high-growth product categories like smartphones and digital TVs.

    Customers, Marketing, Pricing, Competition
    Who are the company's typical customers?
   Affluent men, families with children, professional women, female homeowners, and small businesses are
   important

   What are the company's most effective marketing vehicles?
    Companies use TV, newspaper, radio, and Internet advertising. direct mail, and in-store events.

    How important is price promotion for the company?
   Companies use discounts, rebates, and other promotions to generate store traffic and remain competitive
   with alternative channels.

   How does the company generate repeat business?
   Companies may offer superior customer service or use customer loyalty programs to generate repeat
   business.

   How does the company evaluate the quality of customer service?
   The technical nature of many electronic products requires a high level of customer service.

   How has the Internet changed how consumers buy the company's products?
   Many customers use the Internet to research products and compare prices.

   How important is Internet retailing to the company?
   Most large chains have retail Internet operations, and may link to other websites.

   What competitor is the greatest threat to the company?
   Stores compete with mass merchandisers, warehouse clubs, department stores, Internet and mail order
   retailers, specialty office products retailers, and some manufacturers.

   Regulations, R&D, Imports and Exports
   How does the company ensure that its consumer financing operations comply with government
   regulations?
   Federal and state laws regulate how companies originate, service, and enforce credit accounts.

   If the company has retail locations outside the US, how important are they to the company's
   international business?
   Most large chains have retail operations outside the US, primarily in Canada.




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    How important are imports to the company's business?
    Many companies operate global sourcing offices in Asian countries.

    Organization and Management
    How has the company's total employment changed over the last few years?
    Overall industry employment has declined due to competition and productivity gains.

    How important are part-time workers?
    Seasonal sales make stores reliant on part-time help, especially during the winter holidays.

    How are sales associates compensated?
    Most large stores have eliminated commissions.

   What types of sales training does the company offer?
   Sales training is important due to the technical nature and high cost of many products.

   Financial Analysis
   How seasonal is cash flow?
   Cash flow is highly seasonal, peaking during the winter holiday.

   How dependent are the company's earnings on the winter holiday season?
   Chains can generate between 50 to 100 percent of earnings during the winter holidays.

   How does the company deal with excess inventory?
   Companies typically use heavy discounting to sell off products that are soon to be obsolete.

   What challenges does the company face when negotiating leases?
   Superstore leases run up to 20 years and smaller strip malls average three to five years.

   How does the company finance expansions and store upgrades?
   Companies may require capital to finance major projects.

   Business and Technology Strategies
   What is the company's competitive strategy?
   Companies face heavy competition from warehouse clubs, mass merchandisers, department stores, and
   Internet and mail order retailers.

   How will market saturation of many electronic products affect the company?
   High household penetration of key products, like DVD players, may limit growth.

   What are the company's most significant growth opportunities?
   Digital products, portable electronics, complementary products, and technical services are growth
   opportunities.

   What challenges and opportunities does the Internet present the company?
   The Internet is an important source of information for consumers, and represents significant sales for
   consumer electronic products.



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    How does the company manage new product proliferation due to rapid advances in technology?
    Technological advances result in rapid, numerous new product introductions.

    What issues has the company had integrating departmental computer systems?
    Integrating departmental systems like point-of-sale, inventory, warehousing, and purchasing are critical to
    efficient operations.

   Executive Insight
   ChiefExecutive Officer - CEO
   Building Strategy Around Changing Technology
   Rapid advances in technology have created numerous product standards in the consumer electronics
   industry, and forced companies to cater to multiple markets while adapting their long-term strategy to
   changing market conditions. Different standards require companies to offer several formats for products, like
   TV and DVD players, and compatible accessories. To maximize sales and avoid massive inventory write-offs,
   companies must constantly evaluate technological trends to predict which industry standards will dominate.

   Protecting Share in Highly Competitive Market
   Consumer electronics stores face heavy competition from numerous alternative channels, including mass
   merchandisers, warehouse clubs, department stores, Internet and mail order retailers, specialty office and
   computer retailers, and some manufacturers. Websites allow consumers to compare prices across multiple
   outlets and buy products without ever leaving home. To protect market share, electronics stores can provide
   a better shopping experience by offering an environment conducive to evaluating video or audio products;
   specializing in a particular segment (like home theater or electronic games); providing superior customer
   service; and guaranteeing satisfaction with products.

   ChiefFinancial Officer - CFO
   Minimizing Excess Inventory
   Given the high cost of consumer electronics inventory, companies struggle to balance carrying minimum
   levels of inventory against avoiding out-of-stocks. Rapid advances in technology shorten product life cycles,
   leaving retailers with the potential for expensive, outdated inventory. In anticipation of new product
   introductions or upgrades, electronics retailers will offer deep discounts on current year models to minimize
   the downward changes in the valuation of inventory at year's end.

   Managing Seasonal Cash Flow
   Cash flow is highly seasonal, and peaks during the winter holidays. Large companies generate a substantial
   portion of earnings during fourth quarter, and poor performance during the holidays can unfavorably affect
   the entire fiscal year. Companies may try to smooth cash flow by promotions during other holidays and
   events, like school graduations and Father's Day.

   Chief Information Officer - CIO
   Providing Access to Timely Information
   Companies require ready access to data at the store and warehouse level to monitor inventory levels and
   identify buying trends. Integrated computer systems can track store performance, automatically replenish in­
   store inventory, and locate available products when a particular store is out of stock. Timely sales data can be
   used to adjust inventory levels and reduce the need to discount products to deplete excess inventory.




                                                                                                                  51
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    Developing Internet Strategy
    By offering low prices and a wealth of product information, Internet retailers represent a significant and
    growing threat to electronics stores. Most large electronics retailers operate websites and link to related sites
    to draw Internet traffic. Consumer electronics retailers can execute special website-only promotions or offer
    in-store pickup and return to differentiate from Internet-only retailers.

   Human Resources - HR
   Retaining Qualified Sales Staff
   Employee turnover in the retail industry is high, and the relatively high cost and technical nature of consumer
   electronics products require trained and motivated sales associates who can explain complicated features to
   the average consumer. As a result, consumer electronics store employees earn more than the average retail
   employee. Most large US electronics companies have eliminated commissions as part of compensation.

   Hiring Part-Time Employees
   Highly seasonal sales require companies to employ additional personnel during the winter holidays. In 2009,
   RadioShack hired 1,900 temporary employees for the holiday selling season. Timely hiring and training of
   part-time employees to meet customer service expectations challenge retailers, which often turn to outside
   placement agencies.

   VP Sales/Marketing - Sales
   Identifying New Targets
   Due to growing acceptance of consumer electronics products, companies miss opportunities by exclusively
   targeting the traditional electronics consumer - the affluent, professional man. Affluent professionals are
   often early adopters of new technologies, but families, suburban moms, young men, and small businesses
   represent significant, and often untapped, market potential for retailers as prices drop. Best Buy has adopted
   an operating model that tailors product assortment, staffing, promotions, and layout at the store level to
   select customer segments depending on market area demographics.

   Developing Effective Promotions
   Selective discounting, especially during the holidays, is common among consumer electronics retailers.
   Effective promotions can generate store traffic and increase the total customer purchase without hurting
   profitability. Companies can offer additional rebates on top of manufacturer rebates or discounts on higher­
   margin accessories as part of a bundled purchase to increase a promotion's perceived value. In addition,
   offering exclusive promotions to members of customer loyalty programs is a targeted, efficient way to
   generate repeat business.

   Executive Co11versation Starters
   ChiefExecutive Officer - CEO
   How does the company forecast which new technologies will be successful?
   To maximize sales and avoid inventory write-offs, companies must evaluate technology trends to predict
   which industry standards will dominate.

   How does the company compete against Internet and mail order retailers?
   Sales of computer products at Internet and mail order retailers matches or exceeds that of electronics stores.




                                                                                                                  52
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    ChiefFinancial Officer - CFO
    How is the company challenged by managing inventory levels?
    Given the high cost of consumer electronics inventory, companies struggle to balance carrying minimum
    levels of inventory against avoiding out-of-stocks.

    What is the company doing to smooth out annual cash flow?
    Companies may try to smooth cash flow by offering promotions during other holidays and events, like
    graduations and Father's Day.

    Chief Information Officer - CIO
    How is the company speeding up sales reporting for managers?
    Timely sales data can be used to adjust inventory levels and reduce the need to discount products to deplete
    excess inventory.

   How is the company growing its Internet marketing and sales?
   Most large electronics retailers operate websites and link to related sites to draw Internet traffic.

   Human Resources - HR
   How difficult is recruiting and retaining knowledgeable sales associates?
   Employee turnover in the retail industry is high; consumer electronics products require trained sales
   associates who can explain features to consumers.

   How does the company recruit and train part-time personnel?
   Highly seasonal sales require companies to employ additional personnel during the winter holidays.

   VP Sales/Marketing · Sales
   How is the company adapting its marketing to meet new target audiences?
   Families, suburban moms, young men, and small businesses represent significant, and often untapped,
   market potential for retailers as prices drop.

   What product promotion programs has the company found most effective?
   Effective promotions can generate store traffic and increase the total customer purchase without hurting
   profitability.

   Fimmcial Information
   COMPANY BF.NCHMARK TRENDS

   Quick Ratio by Company Size

   The quick ratio, also known as the acid test ratio, measures a company's ability to meet short-term
   obligations with liquid assets. The higher the ratio, the better; a number below 1 signals financial
   distress. Use the quick ratio to determine if companies in an industry are typically able to pay off
   their current liabilities.




                                                                                                               53
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              2


            1.6


            1.2


            0.8                                        -
                    0.85              0.87                     0.86          0.8<1
                                                                                              Warning
            0.4 ·

              0

                     All              Large                  Medium          Small

                                                     Quick Ratio




   Financial industry data provided by MicroBilt Corporation collected from 32 different data sources
   and represents financial performance of over 4.5 million privately held businesses and detailed
   industry financial benchmarks of companies in over 900 industries (SIC and NAICS). More data
   available by subscription or single report purchase at www.microbiltcom/firstresearch,

   Working Capital Turnover by Company Size

   The working capital turnover ratio, also known as working capital to sales, is a measure of how
   efficiently a company uses its capital to generate sales. Companies should be compared to others in
   their industry.

             2


            1.6


            1.2


            0.8


            0.4
                       0.09                   0.09                    0.09             0.09

             �
                     All                Large                      Medium            Small

                                                Wod<ing Capital Turnover




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   and represents financial performance of over 4.5 million privately held businesses and detailed
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    Current Liabilities to Net Worth by Company Size

    The ratio of current liabilities to net worth, also called current liabilities to equity, indicates the
    amount due creditors within a year as a percentage of stockholders' equity in a company. A high
    ratio (above 80 percent) can indicate trouble.

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                       All                   Large                 Medium                      Small

                                               Current Liabilities To Net Worth




   Financial industry data provided by MicroBilt Corporation collected from 3 2 different data sources
   and represents financial performance of over 4.5 million privately held businesses and detailed
   industry financial benchmarks of companies in over 900 industries (SIC and NAICS). More data
   available by subscription or single report purchase at www.microbiltcom/firstresearch.
   COMPANY BENCHMARK INFORMATION
   NAICS:4431
   Dat.a Period: 2013                                                                              Last Update February 2015
    Table Data Format                                                                                                  Mean


    Company Size                                                   All                 Large           Medium          Small
    Size by Revenue                                                          Over$SOM            $5M-$50M          Under$SM
    Company Count                                              36212                     98              1357         34757


                   I
    Income Statement
                        I
    Net Sales                                                  100%                100%                 100%           100%
    Gross Margin                                               33.6%              32.9%                 33.5%         34.5%
    Officer Compensation                                        3.1%                   2.7%              2.9%          3.5%
   Advertising & Sales                                          1.4%                   1.4%              1.4%          1.4%
   Other Operating Expenses                                    26.8%              26.3%                 26.8%         27.2%
   Operating Expenses                                          31.2%              30.5%                 31.1%         32.1%



                                                                                                                          55
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                                                        2.4%         2.4%      2.4%           2.4%
   Operating Income
                                                        1.2%         1.2%      1.2%           1.2%
   Net Income

                I
    Balance She1_l
                                                       11.4%        11.2%     11.2%          11.7%
   Cash
                                                       23.7%        23.7%     24.3%          23.3%
   Accounts Receivable
                                                       26.4%        26.2%     26.5%          26.8%
   Inventory
                                                       66.5%        66.0%     66.8%          66.7%
   Total Current Assets
                                                       14.3%        14.2%     14.2%          14.3%
    Property, Plant & Equipment
                                                       19.3%        19.7%      18.9%         19.0%
    Other Non-Current Assets
                                                      100.0%        100.0%    100.0%        100.0%
    Total Assets
                                                       22.2%        22.0%      22.2%         22.5%
    Accounts Payable
                                                       41.5%        40.7%      41.9%         42.2%
    Total Current Liabilities
                                                       17.1%         14.8%     17.6%         19.4%
    Total Long Tenn Liabilities
                                                       41.4%         44.5%     40.4%         38.5%
    Net Worth


                    . I
     F.manc1. al Rat10s
     (Click on  any  r tifl for rnmprchcmsive definitions)
                                                             0.85     0.87      0.86           0.84
    Quick Ratio
                                                             1.60     1.62      1.59           1.58
    Current Ratio
                                                      100.4%         91.4%    103.8%         109.5%
    Current Liahilitie,5 :tQ Ne:t Worth
                                                         xl.57        xl.56     xl.59         xl.58
    Cua:i:::ot Liahilitii:::5: to llll!'.tmtor)!:
                                                         xl.42        xl.25     xl.47         xl.60
    Iotal Debt to Net Worth
                                                         x0.34        x0.32     x0.35         x0.37
    Fixi:::d. As:tets   :w Ne:t warth
                                                              30        31        32             29
    lli1I5 Ati:;ouots Receivable
                                                         x7.12        x7.18     x6.99         x7.16
    InventQ[ll'. TgrnQver
                                                        35.9%        36.4%     36.7%          34.8%
    Tata l As:ttt.5 to S:ali:::.5
                                                         9.0%         9.2%      9.1%           8.5%
    WQrking Cag i:tal       :w Sales
                                                         7.8%         7.8%      8.0%           7.7%
    A1:1:a11ot.5 eaxahlc to Sales
                                                         2.0%         2.0%      2.0%           2.0%
    Pre-Tax Return on Sale,5
                                                         5.5%         5.4%      5.4%           5.6%
    �te-Iax Retum on Assets
                                                        13.3%        12.1%     13.3%          14.6%
    Pre-Tax Return on Net Worth
                                                         x4.92        xS.00     x4.90          x4.88
    Interest Coveraeg
                                                             3.7%     3.7%      3.8%           3.6%
    EBIIDA to S ales
                                                             1.6%     1.7%      1.7%           1.5%
    Canital Expenditures tQ Si!lt:s




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  CS-0240                                                                               Attachment A
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    benchmarks of companies in over 900 industries (SIC and NAICS). More data available by subscription or
    single report purchase at www.microbilt.com/firstresearch.
    ECONOMIC STATISTICS AND INFORMATION
    Retail Annual Sales Growth - Census Bureau
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                 2005    2006   2007     2008     2009        2010           20·11      2012     2013       20H   Jan ·15

                                       443 Eleclronic; am:! appliance ;;tore                    Total US.


    Change in Consumer Prices - Bureau ofLabor Statistics
      6'1(,




                2005    2006    2007    2008     2009       2010             2011       2012    2013      2014    Feb 15

                                       CUUROOOOSERA Vid1:0 anti audio                          Total US


   VALUATION MUL TIPl,ES
     Consumer Electronics & Appliances Stores

     Acquisition multiples below are calculated using at least 28 US private, middle-market (valued at less than $1
     billion) industry asset transactions completed between 5/2003 and 3/2014. Data updated annually. Last
     updated: November 2014.


                                                                             MVl(/Gross
     Valuation Multiple
                                       MVlC/Nel Sales                        l..rnfit
     Median Value                                               0.3                                 0.7                           3.8                  3.6

    MVIC (Market Value of Invested Capital) ;;;; Also known as the selling price, the MVIC is the total
     consideration paid to the seller and mcludes any cash, notes and/or securities that were used as a form of




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  CS-0241                                                                                                                                Attachment A
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    However, retailers can capitalise on attracting consumers prepared to commit to a grand over two years by
    persuading them to part with just a bit more cash on shiny nick-nacks to further optimise their phone
    experience.
    That is the conclusion of market researcher ABI Research in its mobile accessories market data study. It
    seems that aftermarket accessories - those not included with the original purchase - produced worldwide
    revenue of$26.5 billion last year, a figure that is expected to double by 2015.
    "Market growth in the aftermarket accessories segment is being driven by the explosive growth in smartphone
    sales," said senior anao,st Michael Morgan. "Smartphone are genera lo, higher-value products than feature
    phones, so consumers are willing to spend more on the accessories for them. There is also a shift to higher­
    quality accessories, replacing the cheap, white-label products that characterized the market until recently."

   The looming ubiquity of smartphones is unquestioned, but how to make money out of them remains the
   million dollar question. As you can see in the charts pub]jshed by Fortune below, only one company has really
   got the hang of making money out of the handsets themselves, and Apple's not in the habit ofenriching the
   wider channel when it can pocket the cash itself.
   But tech retailers have been making money out of iPod accessories, such as cases and speaker docks, for
   years, and there's no reason to doubt even greater opportunities are available in the smartphone market­
   especially when you consider all other phones are likely to use the micro-USB interface from now on.
   Other types of popular accessories include scratch protectors, Bluetooth headsets - although the lower-end is
   declining- and memory cards. However, in the latter case, phones often come with at least 1GB as standard
   these days, so many consumers are making do with that
   Market Trends

   According to a recent study from ABI Research, sixty six percent ofrevenues earned from mobile phone
   accessories are generated in the aft:ermarket. This percentage is only expected to grow with time, following a
   market trend to move more and more accessories "out of the box" and onto retailers' shelves according to ABI
   research. "Mobile operators and mobile phone vendors see that the only return from including a subsidized
   accessory included in the mobile phone box is customer satisfaction," comments industry analyst Michael
   Morgan. "While that isn't without some intangible value, on the retail shelf a mobile phone accessory is a
   high-margin product that will generate actual income."


   ABI research studied mobile phone accessories market
   Because of that, aftermarket mobile phone accessories will also show faster growth rates than those included
   "in-box." The currently most popular aftermarket mobile phone accessories are memory cards and protective
   silicone carrying-cases or sleeves. Both result from the popularity of smartphones: their multimedia
   capabilities often demand extra memory capacity, and their high value encourages owners to take better care
   of them. This latter trend has clearly been initiated and driven by Apple's iPhone.

   Mobile phone accessories market differs per region
   Protection takes on even greater importance in some emerging markets, where most owners intend to resell
   their mobile phones when they upgrade. Other regional factors in the accessories market are culturally
   determined, says Morgan: "While the belt-clip style of mobile phone 'holster', for example, is popular in North
   American and Western European markets, Asian consumers tend to prefer wrist- and neck-straps which
   provide greater visibility for the mobile phones of the fashion-conscious, at lower cost." Fast-growing accessory
   groups include Bluetooth headsets and wired headsets for music listening. while others such as add-on GPS
   receivers are in decline as their functions are progressively moved into the mobile phone itself.



   Market Size



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    The largest shift in the mobile accessories market identified by TrendsSpotting Trends Research is no
    doubtfully marked by intelligent capabilities made available with mobile apps. The mobile accessories market
    has changed dramatically during the last 12 months, since consumers have largely adopted smartphones, and
    apps download has become a popular behaviour. It is no longer a market of cases and skins but of smart
    devices supported by intelligent apps.

    With the increased use of mobile apps, new opportunities lie for hardware accessories that complement the
    mobile device. Mobile accessories can now provide smart solutions that were not available before: location
    tracking, sensors and monitoring devices are put together to allow smarter management systems for homes,
    transportation, fitness and health care.

   Protection: The high value of the smartphone device (compared to feature phones) makes it rational for
   consumers to invest in its protection. As competition in this market strengthens, case makers understand
   they need to provide more advanced solutions (such as charging capabilities and storage), as part of the case.

   Charging: With phones following the consumer everywhere, we see a large variety of charging solutions: from
   simultaneous charging and battery boosts to wireless charging and alternative power sources, consumers can
   now make sure they will never be disconnected.

   Entertainment: In the last year we have witnessed a growing trend of mobile accessories that enhances the
   capabilities of Smartphone: its visual and audio features are upgraded to provide a more developed
   entertainment device, used mostly for games and music. With upgrading such capabilities, the smartphone
   becomes the centre of entertainment in homes and on the go.



   Market Share
   Smartphone
   �-�--      Accessory
         �---·-·---·--   Revenues
                       ��-�- -----,--Valued    at $20�Billion
                                     ,-·-------------·- �+��... in 2012
                                                                ----··----�-- -------------

   Smartphones will drive $20 billion in aftermarket accessory revenues in 2012, accounting for more than half
   of the $36 billion that all aftermarket handset accessories will produce. By 2017, smartphone accessories will
   grow to $38 billion in revenues, while feature phone accessory revenues decline to $12 billion.

   "The increasing penetration of smartphones is driving a shift in accessory design toward smart accessories
   that drive higher levels of consumer interaction, product value, and brand recognition," says Michael Morgan,
   senior analyst, devices, applications & content. "For new market entrants, developing brand recognition is
   paramount in capturing market share from the incumbents. This is best accomplished by the development of
   engaging, innovative accessories that extend the value proposition of today's mass market accessories."

   Feature phone consumers will spend an average of $28.17 on accessories per device, while smartphone
   owners will spend $56.18 on accessories per device. The difference in spending is driven by a combination of
   consumers spending more per accessory and purchasing more accessories for smartphones as compared to
   feature phone owners.

   While feature phone accessories tend to be basic commodity-type products, smartphone-focused accessories




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    are increasingly looking to leverage on device applications and communication protocols that can increase
    the design complexity and allow the accessories to become service delivery platforms.

    "As smartphones continue to expand the value of mobile handsets, accessories will need to equally deliver
    higher levels of product engagement, customization, and predict consumers' shifting mobility use cases," adds
    Jeff Orr, practice director, devices, applications & content




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 INNOVATION EVALUATION

 SMARTNET

 CHRISTOPHER SEAVER

  Our initial evaluation of your innovation has been completed. Thirty-two (32) areas of concern for new
product introduction are grouped into five (5) major factors. The completion phrase(s) given for each of
the thirty-two (32) areas of concern correspond to the judgment of several evaluators. Their responses
have been averaged by the computer and the appropriate completion phrase(s) to each area of concern
is printed below. if two phrases are printed for an area of concern, then the score for your innovation falls
between the two possible completion phrases. The preliminary evaluation should provide you with some
indication of the marketability and probable success of your innovation.

  1. PROTECTION CRITERION: Considering patents (or copyrights), technical difficulty, and
 secrecy, the prospects for protection appear to be:

  Legal Protection and/or secrecy possible


  2. NEW COMPETITION CRITERION: Competition from new entrants or competitive action is
 expected to be:

  Low - product lead will be relatively Jong


  3. EXISTING COMPETITION CRITERION: Existing competition for this innovation appears to be:

  Low - a significant market share can be gained


   4. PRICE CRITERION: Relative to competition and/or substitute products, the selling price is
 likely to be:

  About the same


  5. DURABILITY CRITERION: Relative to competition and/or substitutes, durability of the
 product is likely to be perceived as:

  Similar - noticeably better


  6. FUNCTION CRITERION: Relative to competing and/or substitute products, services, and
 processes, the function performed might be perceived as:

  Superior - a noticeable improvement


  7. APPEARANCE CRITERION: Relative to competition and/or substitutes, appearance is likely
 to be perceived as:

  Superior - has customer appeal


                                                                                                  63
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   8. SERVICE CRITERION: The cost and difficulty associated with providing product service is
 likely to be:

  Very low -will require little or no parts and service


   9. DISTRIBUTION CRITERION: The cost and difficulty of establishing distribution channels are
 likely to be:

  Low relative to expected sales


  10. PROMOTION CRITERION: The costs and effort required to promote the advantages and
 benefits are likely to be:

  Low relative to expected sale


  11. VISIBILITY CRITERION: The advantages and benefits are:

  Visible - easily communicated


  12. DEPENDENCE CRITERION: The degree to which the sale or use of this product is
 dependent upon other products, processes, or systems is:

  Moderate - reasonable market control


  13. NEED CRITERION: The level of need filled or utility provided by this innovation is:

  Moderate - fulfills both psychological and physical non-essential needs


  14. LEARNING CRITERION: The amount of learning required for correct use is:

  Very low - no instructions needed


  15. PRODUCT LINE POTENTIAL CRITERION: The potential for additional products, multiple
 styles, qualities, price ranges, etc., is:

  High - new product spin-offs likely


  16. CYCLE CRITERION: The product life cycle is likely to be:

  Five to seven years


  17. STABILITY OF DEMAND CRITERION: The fluctuation in demand is llkely to be:

  Predictable



                                                                                            64
  CS-0247                                                                          Attachment A
                                                                                  PX 31, 3231
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                                        136 demand for products of this type appears to
   18. TREND OF DEMAND CRITERION: The market
  be:

   Growing slowly


   19. POTENTIAL SALES CRITERION: Expected sales of this product might be:

  Very Large


  20. POTENTIAL MARKET CRITERION: The total market for products of this type may be:

  VERY LARGE - INTERNATIONAL


  21. RESEARCH AND DEVELOPMENT CRITERION: The research and development required to
 reach the production-ready stage will be...

  Relatively easy and simple


  22. MARKETING RESEARCH CRITERION: The marketing research required to develop market­
 ready product is estimated to be:

  Relatively easy and simple


  23. PROFITABILITY CRITERION: Profitability is defined as the extent to which anticipated
 revenues will cover the relevant costs for a manufacturer or licensee (direct, indirect, and
 capital). Anticipated revenues: *** THIS DOES NOT REFER TO THE INVENTOR*"'*

  Will cover direct and indirect costs and easily exceed capital cost (ROI)


  24. PAYBACK PERIOD CRITERION: The expected payback period (time required to recover
 initial investment) for a manufacturer or licensee is likely to be...*** THIS DOES NOT REFER TO
 THE INVENTOR***

  LESS THAN 6 MONTHS


  25. INVESTMENT COSTS CRITERION: The manufacturer or licensee's amount of capital and
 other costs necessary for development to the market-ready stage would be... *** THIS DOES
 NOT REFER TO THE INVENTOR ***

  Low - recoverable within two years


  26. STAGE OF DEVELOPMENT CRITERION: Based on available information, there is...

  A market ready prototype with performance and safety testing completed


  27. PRODUCTION FEASIBILITY CRITERION: With regard to technical processes or equipment

                                                                                          65
   CS-0248                                                                         Attachment A
                                                                                  PX 31, 3232
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  required for production, this invention will ...

   Have no problems


  28. FUNCTIONAL FEASIBILITY CRITERION: In terms of intended functions, will it actually do
 what it is intended to do?

   It will work - no changes necessary


  29. LEGALITY CRITERION: In terms of applicable Jaws (particularly product liability),
 regulations , product standards, this idea/invention/new product:

   Meet them without any changes


   30. SAFETY CRITERION: Considering potential hazards and side effects, the use will be:

  Very safe under all conditions, including misuse


  31. ENVIRONMENTAL IMPACT CRITERION: In terms of pollution, litter, misuse of natural
 resources, etc., use might...

  Have no effect on the environment      ··------··--        ---------------

  32. SOCIETAL IMPACT CRITERION: In terms of the impact (benefit) upon the general welfare of
 society, use might••.

  Have no effect on society



 INNOVATION EVALUATION

 Likelihood Question: Likelihood estimate shown is in our opinion, the likelihood of this idea, process or
product being successful in the marketplace. (see chart below)

 Definitely Not Successful (0 - 19)
 Probably Not Successful (20 - 39)
 May be Successful (40 - 59)
 Probably Successful (60 - 79)                                                           75
 Definitely Successful (80 - 100)

  NOTE: This estimate should be interpreted as an overall summary, based on the 32 criteria of the
likelihood of chance of success for your invention or new product idea. If this information seems to
contradict some of the written responses for the criteria, it is because the estimate reflects the varying
degrees of importance and the interrelationships of the 32 criteria. Consequently, you should place
greater emphasis on this information than any specific criterion contained in your evaluation report.




                                                                                                   66
   CS-0249                                                                                  Attachment A
                                                                                           PX 31, 3233
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  CS-0002                                                                                          Attachment B
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  CS-0003                                                                                      Attachment B
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  CS-0004                                                                                     Attachment B
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  CS-0005                                                                                     Attachment B
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  CS-0008                                                                                        Attachment B
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  CS-0009                                                                                      Attachment B
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  CS-0011                                                                                      Attachment B
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Case 1:17-cv-20848-DPG Document 47-1 Entered on FLSD Docket 04/05/2017 Page 92 of
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RE: ETA?
Case     - Outlook
     1:17-cv-20848-DPG                                                  Page 94
                       Document 47-1 Entered on FLSD Docket 04/05/2017 Page  1 ofof3
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      -�-,                          RE:ETA?
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                                    Scott Cooper [scott@worldpatentmarketing.com J
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                                     from a trusted sender and you want to re-enable the blocked features, r.licl: her.,.
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                                    Sent: Tuesday, September 27, 2016 9:10 PM
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       _J Inbox :s!'i'.'3}
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    _J Sentltems (';
                                   Scott J. Cooper
                                   CEO and Creative Director
                                   �-.--;� 'l'.'1,_. 'IC.-'1:� r.,-·,,�·, 'It�·. "i;f r. · -��ir: ;; .-,,,. /.
                                   888-926-81741 Ext: 212
                                   Direct: 305-330-9199 I Fax: 305-503-5458
                                   World Patent Marketing
                                   1680 Meridian Avenue, Suite 600
                                   Miami Beach, FL 33139
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                                   From: christopher seaver [mailto:cr.'r:;:_v�r�hotn,;ijl,wm]
                                   Sent: Tuesday, September 27, 2016 8:11 PM
                                   To: Scott Cooper <.:s-::ut'"fi:Vw'.lr:do<1t�nt:n:rl:�tirJ.cc�>
                                   Subject: ETA?


                                   What are we looking at buddy? It seems like we're on a holding pattern here.
                                   From: Scott Cooper <:;clitt .,.. ,.-.-,,-Jc�-=t-,m r., ,; ·., '.: :;;_r:1.n1>
                                   Sent: Thursday, September 22, 2016 9:51:50 AM
                                   To: christopher seaver
                                   Subject: Re: Advertising

                                   How about Paula Abdul?

                                   Sent from my iPhone

                                   On Sep 22, 2016, at 10:50 AM, christopher seaver                                                                       wrote:
                                                How about advertising? Come commercials, emails, social media?

                                               Sent from Sunny Sofia


                                               On Sep 21, 2016, at 10:02 AM, Scott Cooper
                                               <scot�r:.1,.\vqrlc!pal�ntr1,�:-':;etin1 1 .com> wrote:

                                                              Uploading Samsungs


     CS-0097                                                           Attachment D
https://outlook.live.com/owa/?ae=Item&t=IPM.Note&id=RgAAAABBukwE3wy%2bSoSJ ... 3/13/2017
                                                                      PX 31,   3253
Case'"hat's the time table? - Outlook
      1:17-cv-20848-DPG                                                        Page 195ofof
                               Document 47-1 Entered on FLSD Docket 04/05/2017 Page       2
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     _j Calendar                        RE: What's the time table?
                                        Scott Cooper [scott@worldpatentmarketing.com]
 1   �_J Contacts                      Sent: Monday, October 10, 2016 4:26 PM
                                       To:            ;i .ri.-tr;:;h:o� !'•'.?a'J•.r
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     _j        Sentltems (1 J          almost there

                                       Ordering inventory as we speak

                                        Scott J. Cooper
                                       CEO and Creative Director
                                       scott@worldpater.tmarketing.com
                                       888-926-8174 I Ext: 212
                                        Direct: 305-330-9199 I Fax: 305-503-5458
                                       World Patent Marketing
                                       1680 Meridian Avenue, Suite 600
                                       Miami Beach, FL 33139
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                                       Join The Invention Revolution




                                       -----Original Message-----
                                       From: christopher seaver
                                       Sent: Monday, October 10, 2016 5:16 ?M
                                       To: Scott Cooper <scott@worldpatentmarketing.com>
                                       Subject: What's the time table?

                                      I'd like to see some of the new cases ... when do ads
                                      start? We seem to be
                                      getting hung up in details for months now.

                                       Sent from Sunny SoFla




                                                                                                                                                                                                                             ;



     CS-0111                                                           Attachment D
https://outlook.live.com/owa/?ae=Item&t=IPM.Note&id=RgAAAABBukwE3wy%2bSoSJ...
                                                                      PX 31, 3/13/2017
                                                                              3254
Countdown
Case      - Outlook
     1:17-cv-20848-DPG                                                 Page 196
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                                     136


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                                     Sent: Saturday, November 5, 2016 9:35 AM
                                     To:   �c ,tt C:. ;,,::r (,•:;r':.t'_ .-::. .-'1��L.,tnn�k ,t:r,,,i.c.. : 1]
     ''if   Deleted Items {·'.9)
     ,A Drafts :,;3;                 Countdown is at 0, are we on??
     •_ _j lnbox (559:'
      � Junk Email r::c'C)           Sent from Sunny SoFla
     ...J Sent Items 11:




            Mar;a\:)e r'(du.;: ...




                                                                                                                                                .   ·;•


       CS-0117                                                                                                                        Attachment D
https://outlook.live.com/owa/?ae=Item&t=IPM.Note&id=RgAAAABBukwE3wy%2bSoSJ
                                                                     PX 31,... 3/13/2017
                                                                               3255
Re: This
Case     wk - Outlook
     1:17-cv-20848-DPG                                                  Page 197ofof2
                       Document 47-1 Entered on FLSD Docket 04/05/2017 Page
                                     136


       mi outlook                        T·,v, r!<;re to .;earch                Entire Mailbox �                'P
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                                                                                                                                        Privacy              .i.U        iJ Options O   Sign out


                                                         L .�-�� �;'. _ · -�-
 ,··                                  {r'··· ·.·.· .. ,·. ,�-.,-.··-:. .. - ... .. - • ...-· ...... - -                               e.·...------·-.,,.
                  Mail                . � -� Reply                                         r: � �� i _
                                                                                             o    Ja
                                                                                                          ! ".�--�- : � .���·�!                            ( �/��� · _
 I           :J
                                         Re: This wk
 I     �i] Cc>lendar                    christopher seaver [
 I     Ii-: J Contacts                  Sent: Monday, November 7, 2016 1:20 PM
                                        To: Sc')tt <':G"l:.,;.;� [5-:1 �t:--·::-�ld,:>c1t�n�n.-1=·;:P.t:1 j.t:'-•·11]
       ·�!        Deleted Items H '
       .. :1 Drafts ,/::}               Ok let me know where to check out add
       .. J Inbox {5583)
        z, Junk Email [llt,JJ           Sent from Sunny SoFla
       . _j Sent Items \ 1)

                                        > On Nov 7, 2016, at 11:46 AM, Scott Cooper
                                        <scott@worldpatentmarketing.com> wrote:
                                        >
                                        > We are good to go - ads start this week - samples
                                        are ordered and on their way
                                        >
                                        > I'll send a bunch to your house
                                        >
                                       > Sent from my iPhone
                                       >
                                       >> On Nov 7, 2016, at 11:43 AM, christopher seaver
                                                              wrote:
                                       >>
                                       >> Hey buddy, what's up? The time is here to sell. I'd
                                       like to come by this wk. I have time and otherwise I
                                       won't in the upcoming months
                                       >>
                                       >> Sent from Sunny SoFla
                                       >>




     CS-0120                                                            Attachment D
https://outlook.live.com/owa/?ae=Item&t=IPM.Note&id=RgAAAABBukwE3 wy%2bSoSJ... 3/13/2017
                                                                       PX 31, 3256
Re: Christmas
Case          time - Outlook Document 47-1 Entered on FLSD Docket 04/05/2017 Page
     1:17-cv-20848-DPG                                                       Page I98of2
                                                                                      of
                                           136


   Iii Outlook                                   Type t1c:re to ,;earc;1                         Entire Mailbox •     P;        Privacy         i,JJ


          Mail
                                               :•-,.._,__-,��- �.c ;-";\ -   -JI   ::   -   .:




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                                                                                                                                                           ...   - ...,

    .i::.r -
   _J       calendar
                                                  Re: Christmas time
                                                  christopher seaver
  RJ Contacts                                    Sent: Tuesday, November 15, 2016 7:48 PM
                                                 To:           �c_tt Cr,s:,s [:c'Jtt'. .. ,.·:,:dµatc;tma:·ic•iq.ct.:n]
   ' l/     Deleted Items (-19)
   _J Drafts [5:']                               As stuff hits please send. I'd love to see ads,
    .J Inbox (555'.'''                           emails, etc. it's very exciting to me!
    ·?J Junk Email [llf.�J
   _j Sentltems ( ! )                            Sent from Sunny SoFla

          Ui,r to vi,.•.: 11' f ,:r'.·;:.: �
                                                 > On Nov 15, 2016, at 9:15 AM, Scott Cooper
                                                 <scott@worldpatentmarketing.com> wrote:
                                                 >
                                                 > We are live today - changing a few of the auto
                                                 emails
                                                >
                                                > Cases are also going on Amazon today
                                                >
                                                > Go through the process today on the web - look at
                                                all the changes - watc� the checko�t process
                                                >
                                                > Sent from my iPhone
                                                >
                                                >> On Nov 15, 2016, at 9:11 AM, christ.opher seaver
                                                                       wrote:
                                                >>
                                                >> Hi Scott,
                                                >> The holidays are upon us ... I remember asking you
                                                last year if the cell case would be ready for
                                                Christmas and you said no it was too close. We're one
                                                year removed now. I know there's been many changes but
                                                one year is a long time to wait. Please tell me these
                                                will be ready for Black Friday. It's the capital of
                                                all shopping days. I need t.o see some movement here.
                                                Thx
                                                >>
                                                >> Sent from Sunny SoFla
                                                >>




     CS-0122                                                           Attachment D
https://outlook.live.com/owa/?ae=Item&t=IPM.Note&id=RgAAAABBukwE3wy%2bSoSJ.
                                                                      PX 31,.. 3/13/2017
                                                                               3257
Re: Christmas
Case          time - Outlook Document 47-1 Entered on FLSD Docket 04/05/2017 Page
     1:17-cv-20848-DPG                                                        Page 99
                                                                                   1 of2
                                                                                      of
                                           136


   all Outlook                     Type her::? to se,.rct1                   Entire Mailbox ...        i   P      Privacy         bi.I         c:J Optic-is   @   Sign c.ut


             Mail                 ,;t,:1c;:il·1 ·�R'!!JlyAll'_�Fv·.:ard                             1��} )<          \.QjJun/            CIG�cj
   .. :'.I
                                  · - ---· .. • · .., -- �----· ··• ··-- ·   '. --·--------· - • ..' ·-' •·--· · ___ ___ ·.-•... ·.s-. -··-· · ·-- ---   -·· ·--�---


   -� Calendar
                                   Re: Christmas time
                                   christopher seaver
   Q d Contacts                   Sent: Thursday, November 17, 2016 8:12 AM
                                  To:          Scctt r"0;Yi :r.'). ·� ,�v;;:,rldp!:'Jntr:,r:��ti:--g.':' ;r,�
   'J�       Deleted Items (19i
   .,Li Drafts f:i3J              Hey buddy, we going to be on amazon soon ? Any other
   _;J Inbox (::T'3)              sites?
   .. # Junk Email [ . iti:J]
   . _j Sent Items (1)            Sent from Sunny SoFla


                                  > On Nov 15, 2016, at 8:49 PM, Scott Cooper
                                  <scott@worldpatentmarketing.com> wrote:
                                  >
                                  >      I,ooks amazing
                                  >
                                  >     Scott J. Cooper
                                  >     CEO and Creative Director
                                  >     scott@worldpatentmarketing.com
                                  >     888-926-8174 I Ext: 212
                                  >     Direct: 305-330-9199 I Fax: 305-503-5458
                                  >     World Patent Marketing
                                  >     1680 Meridian Ave�ue, Suite 600
                                  >     Miami Beach, FL 33139
                                  > ll,�.;�.,3:_//-·cr�,:-·�·i__:r.: rt.1..<: ..... 1-·.-.g. __,-_,
                                  > Join The Invention Revolution
                                  >
                                  >
                                  >
                                  >
                                  > -----Original Message----­
                                  > From: christopher seaver
                                  [ r:-:: :·_ -, , :. (, :
                                  > Sent: Tuesday, November 15, 2016 8:48 PM
                                  > To: Scott Cooper <scott@worldpatentmarketing.com>
                                  > Subject: Re: Christmas time
                                  >
                                  > As stuff hits please send. I'd love to see ads,
                                  emails, etc. it's very
                                  > exciting to me!
                                  >
                                  > Sent from Sunny SoFla
                                  >
                                  >
                                  >> On Nov 15, 2016, at 9:15 AM, Scott Cooper
                                  > <scott@worldpatentmarketing.com> wrote:
                                  >>
                                  >> We are live today - changing a few of the auto

    CS-0123                                                            Attachment D
https://outlook.live.com/owa/?ae=Item&t=IPM.Note&id=RgAAAABBukwE3wy%2bSoSJ ... 3/13/2017
                                                                      PX 31,    3258
Website
Case    not working? - Outlook
     1:17-cv-20848-DPG                                                       Page 100
                            Document 47-1 Entered on FLSD Docket 04/05/2017 Page  1 of of
                                                                                       2
                                           136


       mi outlook                         T�1pc h�re to seJrch      Entire Mailbox •        •P:            Pri\•acy   ,i.iJ     .i..:.l O[)tions   O   Sign out


                 Mail                                                                                                 r:10:;e
     .. ' �· !

      � Calendar
                                          Website not working?
 1                                        christopher seaver
      i ·J tontacts                       Sent: Friday, November 18, 2016 12:42 AM
                                          To:   Sc'Jtt Coc:J·.r '�·-:·x·:._. \"'.·:..1•,p::/f.,1tm1btin;i.cu1l
      'i)        Deleted Items (,,.:_,)
       _1i Drafts [5::;J                  Just got off phone with buddy from Spain who tried 3x
         ; lnbox (5583)                   to order Janus case and couldn't Be website not
        a        Junk Email f1 1 fi�]     working/done .... I'm assuming it's not really done???
       � Sent Items � � )                 What's going on? Let's talk in am I need to know
                                          what's up.

                                          Sent from Sunny SoFla




     CS-0124                                                           Attachment D
https://outlook.live.com/owa/?ae=Item&t=IPM.Note&id=RgAAAABBukwE3wy%2bSoSJ...
                                                                      PX 31, 3/13/2017
                                                                              3259
Hey -1:17-cv-20848-DPG
Case Outlook                                                            Page 101
                       Document 47-1 Entered on FLSD Docket 04/05/2017 Page  1 of of
                                                                                  2
                                      136


   Iii Outlook                                  Type llt,e tc, sea�ch     Entire Mailbox •        Pl           Privacy   .J   3-.J Options   f)i   Si[Jn 01,t


           Mail


   _Jj Calendar                                 Hey
                                                christopher seaver
  -� Contact<;
                                                Sent: Monday, November 21, 2016 8:22 PM
                                                To:   ScciJ I op1;r �f':,tt'.'.:,r:r�:dpat�:1tr.:ari<;;tn�,,cor.1l
   -�     Deleted Items (,1J)
   d Drafts �,:;3�                              Hey buddy are we on amazon? Is website going to change
   _j Inbox ( s:.�.J:)                          �o $250 gift certificate or staying same? Have we made
      Junk Email Jr,'.,},    r1                 sales and you need my bank account number again or
   ..:l Sentltems            c: )               good? Tks and hope ur good!

        (,I ick t0 v:.,.; : JI fc,ft:, .�:; �   Se�t from Sunny SoFla




    CS-0125                                                            Attachment D
https://outlook.live.com/owa/?ae=Item&t=IPM.Note&id=RgAAAABBukwE3wy%2bSoSJ ... 3/13/2017
                                                                      PX 31,   3260
Black1:17-cv-20848-DPG
Case  Friday ? - Outlook                                                  Page 102
                         Document 47-1 Entered on FLSD Docket 04/05/2017 Page  1 of2of
                                        136


   II Outlook                                 Type here to ��rch          Entire Mailbox • P·                        Pr:vacy   !LI   .J Options   0-      Sign au,




   ___ ;;j
              Mail                                                                                                                                     -a. � ::::-
                                                                                                                                                            ---    -1
                                                                                                                                                                       I
   __J Calend-Jr                              Black Friday ?
                                              christopher seaver
   jj _ J Contacts
                                              Sent: Wednesday, November 23, 2016 11:24 AM
                                              To:   !: nt• L,_q:;·;: {sec•.·: ·!_,-:::cif'.-_Jt,x:'.rr.\rk•;�ir(i.<,/)1]
   iJ        Deleted Items (-·:-�;
   .,.j Drafts [5:,1                          Hey buddy,
   __/ Inbox (558j}                           I just looked on amazon and Janus not on there, Black
       Junk Email [llE�J                      Friday is less than 48 hrs away. Th�s is our chance.
   _j Sent Items ( 1)                         Are we a go??

        U:.,, to,.- ,.v ,} foc·.:-s �         Sent from Sunny SoFla

             f�?.111:.,:_:-� ::c 'Je,-s ...




                                                                                                                                                                ,,..

    CS-0126                                                             Attachment D
https://outlook.live.com/owa/?ae=Item&t=IPM.Note&id=:RgAAAABBukwE3wy%2bSoSJ ... 3/13/2017
                                                                       PX 31,   3261
Follow
Case   up - Outlook
     1:17-cv-20848-DPG                                                  Page 103
                       Document 47-1 Entered on FLSD Docket 04/05/2017 Page  1 of2of
                                      136


   Ill Outlook                        T:pe ilere to !:'Carrh          Entire Mailbox ..., ·             J:J;                      Privc:cy              .iJJ       i.J Opti<'ns   @   Sign out

                                               . .   - . .••. . -. �.        : • -' --�--�---   t·-=·----·- :.- .--..,,;:.-;   �-·,-� :..·�

                                    -i, -ii Kt:pl/ _;� k' 1..!y All      •· -.., !=:r:,rd 1 -.3                  X .. fi J�'lkj
                                                                                                                                              .:..-�




            Mail                                                                                                                                       ! C:or.,/
   ... .i

 I � Calendar                          Follow up
                                      christopher seaver
   &J Contacts                        Sent: Wednesday, November 23, 2016 4: 11 PM
                                      To:     ::icutt C•Y.:, .r r!cc':t'.-': ,!c�',_'.i>c.�i.;;-,tme. !:etir:'.).ce·,.]
   'i) Deleted Items (,.·9)
   .:..ii   Drafts rs:;J              Hey man, just �ollowing up. Are we on amazon? Not
   ._1 lnbox (.:iS.33)                showing up and Black Friday is fri
    ;:, Junk Email [11csj
   ...-=i Sent Items•))               Sent from Sunny SoFla



       , ,t:i,ng•:_ F� '." .�s...




      CS-0127                                                          Attachment D
https://outlook.live.com/owa/?ae=Item&t=IPM.Note&id=RgAAAABBukwE3wy%2bSoSJ ... 3/13/2017
                                                                      PX 31,   3262
 Today1:17-cv-20848-DPG
Case   - Outlook                                                         Page104
                        Document 47-1 Entered on FLSD Docket 04/05/2017 Page  1 of of
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                                       136


   II Outlook                    ·.-ypc here to .;earch       Entire Mail box ... ; P:                   Privacy   �               iJ Op:ions   f)   �:gn out


          Mail                                                                                                        ...,.. ·..
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   - 't

   _J Calendar                   Today
                                 christopher seaver
   ti . I Contacts               Sent: Friday, November 25, 2016 9:29 AM
                                 To:    S..:'Jtt ':: ·;p�r :�-�)tt\ wo:·ldµ;;t'"rc'.rr;;,,;·k:+'r.·1.c,;irnJ
   J     Deleted Items 149;
   ..,., Drafts rs:·1            What's the scoop? Are we live on amazon? I see nada
    _, Inbox (j$0'.,;)
    a Junk Email [11:'�1         Sent from Sunny SoFla
   _j Sent Items ( 1)




       �1ar.:;g', folde;-� ...




                                                                                                                                                     •   ',I'




     CS-0128                                                           Attachment D
https://outlook.live.com/owa/?ae=Item&t=IPM.Note&id=RgAAAABBukwE3wy%2bSoSJ... 3/13/2017
                                                                      PX 31, 3263
Untitled
Case     Message - Outlook Document 47-1 Entered on FLSD Docket 04/05/2017 Page
      1:17-cv-20848-DPG                                                     Page 105
                                                                                 I of 2of
                                          136


   mi outlook                      T� :Je llcn to search
                                 ,-.
                                                                                                  Entire Mailbox ....
                                       <.O. _••.· • .,-· 1; :••.T•-,, -.;;-·,:·�-,.-.r.-.·.-,,,,·:,,.
                                                                                                        "."
                                                                                                                                                      'P:
                                                                                                                               - .·••3•::.,,_•_•• -1 --:,�···,•· "L.:•••
                                                                                                              -, ,.-·•:..:.··.·•
                                                                                                                                                                                Privacy   .!.l.f    .tJ Options   Q   Sign out


          Mail                   ; � r-.�1y;. -,iiJ R_p'.·/ All                                                   } f'·,r:;ard ; _��                           Xi
 I _.:r                                - ..-        .,    -.-!.-..                             .........             .   -.·=::...: ... -...,·.·:



                                   christopher seaver
 I ___:ll calendar
                                   Sent: Friday, November 25, 2016 5:20 PM
   � Cuntacts                      To: :;-;,tt C nr,.-. · (,:rstt '· ir..�1:·��·�:itr,1arke'                                                                       ,11<..1.   .G:n]
                                   I was very er.couraged last wk after                                                                                                                            our conversation
   ·-� Deleted Items (��)          but confused why we're not on major                                                                                                                             websites selling
    .t..'.J Drafts [531            or advertising. This is the biggest                                                                                                                             time for it .
   . _. J Inbox (iSe3)             What's the story? I can't i�agine a                                                                                                                             reason at this
            Junk Email .��•<ii     point why we're not open for biz
     _J Sent Items (1)
                                   Sent from Sunny SoFla




     CS-0129                                                           Attachment D
https://outlook.live.com/owa/?ae=ltem&t=IPM.Note&id=RgAAAABBukwE3wy%2bSoSJ ... 3/13/2017
                                                                      PX 31,   3264
 Hey Scott
Case       - Outlook
      1:17-cv-20848-DPG                                                  Page 106
                        Document 47-1 Entered on FLSD Docket 04/05/2017 Page   1 of of
                                                                                    2
                                       136


   ma outlook                                                                                       Privc;�y    ,Jj      .,J OptiJns   O   Sign out

           Mail               � Repiyj -..:� Reply All • 7; Forwc:rJ : � · )(                    I . Q �unk!   : Clc<e
   ____J
   __j Calendar              Hey Scott
                             christopher seaver
  !iJ Contacts                To help protect your privacy, some content in this message has been blocked. If you're sure this
                              message is from a trusted sender and you want to re-enable the blocked features, d':k h:: re.
   ;/ Deleted Items(-,'.:�   Sent: Thursday, December 1, 2016 12:21 PM
   -dJ Drafts [�:,j          To: sc�tt Lo:·,:.r j";-.-�tt _ ::-_:t!r>c:t1,_;trrc,r1·ot1n:v�'TlJ
      1 Inbox (��s:;)
        Junk Email [1!6�]    Hey buddy,
                             What's the time table for getting this really off the ground?
   ·-1 Sentltems ( �)
                             Sent from Sunny Sofia

                             On Nov 28, 2016, at 10:08 PM, Scott Cooper <�r.Q!""; '" wr:•Jptentr..�Jkl".'.;in'l.,�'Tl> wrote:




                                      Scott J. Cooper
                                      CEO and Creative Director
                                      �c:;._:· 1��:.'cr;.jt,Jdtr�n'.:;l·.-•'�' i ..·.·:.:r.1r.
                                      888-926-81741 Ext: 212
                                      Direct: 305-330-91991 Fax: 305-503-5458
                                     World Patent Marketing
                                      1680 Meridian Avenue, Suite 600
                                      Miami Beach, FL 33139
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                                      :�-l .I:"-. 11./\.[ ,;.>, ._!_-�;,: '·it,:·.. ·1

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    CS-0132                                                            Attachment D
https://outlook.live.com/owa/?ae=Item&t=IPM.Note&id=RgAAAABBukwE3wy%2bSoSJ...
                                                                      PX 31, 3/13/2017
                                                                              3265
 Re: Your Peek test for https://januscase.com/ is ready! - Outlook      Page 1 of 2
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                                                     136

  mi outlook
          M.iit


       c:\:J Calendar          Re: Your Peek test for https://januscase.com/ is ready!
  .�
                               christopher seaver
  jJ Contacts                   To help protect your privacy, some content in this message has been blocked. If you're sure this message Is from a trusted sender and you
                                want to re-enable the blocked features, ,·,: �k :· ·".
  '-;J    Deleted Items (,c)
                               Sent: Monday, December 5, 2016 10:46 AM
  •.J Drafts '5..i'            Toi   _-,·-/t ::r· ,1�,-,.. ·sc.-::; ·. '.)r:::. ""t".'r.: nt.rlt.::. -·""::..r-:· .
    . . lnbo� (5::',3)
   ,;, Junk Email !J '.��:     So looks like there needs to be some adjustments. I totally agree. My million dollar question is what's the timetable? Looks like we're
                               Going to miss the holidays
        Sent Items ( l)
                               Sent from Sunny SoFla


                               On Dec 5, 2016, at 10:09 AM, Scott Coo per <'·:<.t'..;. ,.- ,,,., ·;:. .-:                               ·,•::w··.·� •.,,,tJ> wrote:
                                           Thought you might find this interesting ...

                                           Scott J. Cooper
                                           CEO and Creative Director
                                           /· ,--;_.,;__- ,-... I· .... ,;;.;'."'� .1,;• • -ti r,·_.
                                           888-926-8174 1 Ext: 212
                                           Direct: 305-330-9199 I Fax: 305-503-5458
                                           Wor1d Patent Marketi�g
                                          1680 Meridia� Avenue, Suite 600
                                          Miami Beach. FL 33139
                                          t_·.·, •.; :"�··,.•i.,·-_ ·.�l,-�- '""{,�.




                                          From:       Peek by UserTesting [mailto:�·- u.''·.�' ,·•/;.;.�c·..]
                                          Sent:      Friday, November 18, 2016 8:40 PM

                                          Subject: Your              Peek test for 2._,'.;, 0.'(./L1uc.'.c9                       .• ·_,_ 1   is ready!



                                                                                                                                                                           •
                                                                                     ·oo Hoo!
                                                                                  v·our Video is Ready!
                                                                                                                      :. i;'.   r :.r ._..u,· ,_· - ir -. I :· k � ) �- 3· � r·.;:� L .tc -�hr- r' ·r,� l-� Y,...l'.," Lt. ·r�.
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https://outlook.live.com/owa/?ae=Item&t=IPM.Note&id=RgAAAABBukwE3wy%2bSoSJ...
     CS-0135                                                                       D
                                                                              3/13/2017
                                                                      PX 31, 3266
Roll out - Outlook                                                      Page 1 of 2
Case 1:17-cv-20848-DPG Document 47-1 Entered on FLSD Docket 04/05/2017 Page 108 of
                                      136

     mi outlook                                   ·ryp� t,erc t:i search     Entire Mailbox ..,      :p·            Privacy
                                                                                                                       ···., .. , .� '; I
                                                                                                                                            :W    i.J OptiJnS   O   Sign out


 r             Mail                              i·-..r·.··v:
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                                                                                                                    ,/) JU"              - - ,.
                                                 ··---· L . ·-· ......... -- ..... ,..._ ·' .. .
 I     .:::l

     _j Calendar                                  Roll out
                                                  christopher seaver
 ' �. d Con·�acts                                 Sent: Tuesday, December 13, 2016 10:25 AM
                                                  To:    Sc0t, rrJp�� _:.,,;ott' .. ·..1crldpat-:;;:tm,,rktl n9.cr .1,]
     'iJ       Deleted Items pg:
     -,.;.1 Drafts [5:J                           Hi Scott,
     ._: lnbox (5563)                             How are things going? I'm wondering about launch ,
      0 Junk Email : �            rn::,i          PR , ads, emails, etc. tks
     _j Sentltems (1)
                                                  Sent from Sunny SoFla
           r , :k to, ;_, ·1 a:; ;:.;1-: ,:; �




https://outlook.live.com/owa/?ae=Item&t=IPM.Note&id
     CS-0137                                                          Attachment
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                                                                           ... 3/13/2017
                                                                     PX 31, 3267
Re: Call me - Outlook                                                   Page 1 of 2
Case 1:17-cv-20848-DPG Document 47-1 Entered on FLSD Docket 04/05/2017 Page 109 of
                                      136

        ma outlook                Tyi;� h;:re to searci,                  Entire Mailbox ..- '.                PJ                 P,wacy              ..!.i.l      iJ Optic:is O     Sign o:.i t
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            ,J

        �] Calendar               Re: Call me
                                  Scott Cooper [scott@worldpatentmarketing.com]
        8    J Contacts
                                  You replied on 12/14/2016 3:18 PM.
                                  Sent: Wednesday, December 14, 2016 3:05 PM
         'iJ Deleted Items (49)
                                  To:       ci ,,istc,: i-.-,r sean.r
        .•..;'.I Drafts [ 53]
        . _ .i Inbox (sse:)       Just had a boy on Sunday call u tomorrow
          e Junk Email [H'.':9]
          _'J Sentitems ( 1)      All good

                                  Check out casesite.com - this is our primary
                                  competitor - they have 200k sea value per month

                                  Sent from my iPhone

                                  > On Dec 14, 2016, at 4:02 PM, christopher seaver
                                  <                    > wrote:
                                  >
                                  >
                                  >
                                  > Sent from Sunny SoFla
                                  >




https://outlook.live.com/owa/?ae
     CS-0139                    =Item&t=IPM.Note&id=RgAAAABBukwE3wy%2bSoSJ ... 3/13/2017
                                                                       Attachment   D
                                                                      PX 31, 3268
Update - Outlook                                                        Page 1 of 2
Case 1:17-cv-20848-DPG Document 47-1 Entered on FLSD Docket 04/05/2017 Page 110 of
                                      136

   Ill Outlook                   Tw� liere to se�rch                Entire Mailbox ,.. l fJ '.                     Privacy            !ii   JJ Opt::ms O   Sign out


            Mail               T'i ;��;yi ··;·P.:�;�";11�---�, ���:�rd( i                      c.�     xi ', ;�:.:��-,�I I Clc,se
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  _j Calendar                    Update
                                 christopher seaver
  U Contacts                     Sent: Thursday, December 22, 2016 8:06 PM
                                 To:   S,/)tt CMr,·,r [st,Jtt'i,.- . -:or;d:,-1t.e11tr.1Jrkijng.cc:,1)
   �( Deleted Items ( 49)
                                 Hey Scott,
      .
  -,.!I     Drafts [S3]
            Inbox (.553::.:)     What 1 s up? What's the scoop? I'm feeling very
    Cl Junk Email r1163]
                                 disconnected with the project.
  ._j sent Items � 1)
                                 Sent from Sunny SoFla




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     CS-0143                    =Item&t=IPM.Note&id=RgAAAABBukwE3wy%2bSoSJ... 3/13/2017
                                                                      Attachment D
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Advertising - Outlook                                                   Page 1 of 2
Case 1:17-cv-20848-DPG Document 47-1 Entered on FLSD Docket 04/05/2017 Page 111 of
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  � Calendar
                                    Advertising
                                    christopher seaver
  �.. J Contacts                    Sent: Wednesday, January 4, 2017 11:50 AM
                                    To:         Scctt c:001' ;� (.;: !t'-• .,01;1�. ,te1,t,.,,,rk.!!'nJ.com]
   'Ff    Deleted Items (4,)
  -.lJ Drafts :�::sj                Hi Scott,
   . J Inbox (3�":;)                Welcome back. Now that the holidays                                                                                                              are over it's time
          Junk Email il 'f?J        to hit the ground running. I'd like                                                                                                              to talk on
  . _:i Sent Items ( 1)             marketing. This, of course, is your                                                                                                              expertise. I'd
                                    like to see the plan and execution.                                                                                                              How is the world
                                    going to find out about Janus case?                                                                                                              That's my only
                                    question. Thx!
          '.4an;;ge ::: :c�rs ...
                                    Sent fro� Sunny SoFla




     CS-0146                                                          Attachment
https://outlook.live.com/owa/?ae=Item&t=IPM.Note&id=RgAAAABBukwE3wy%2bSoSJ          D
                                                                           ... 3/13/2017
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 Call - Outlook                                                         Page I of 2
Case 1:17-cv-20848-DPG Document 47-1 Entered on FLSD Docket 04/05/2017 Page 112 of
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   Ill Outlook                  Type ,::;r;; :0 se:rc:l     Entire Mailbo� .,.. ,0'                  Privacy   �   _,j Optims   6   S'g� out


           Mail
   . .�i
   :J      Calendar
                                Call
                                christopher seaver
   jJ Contacts                  Sent: Monday, January 9, 2017 3:01 PM
                                To:    :'<.e,tt (r.--,p·:...· r�:ntl .' 11'lrldpaL; ttn,-,,k-ting.C' rn]
   ·�      Deleted Items (49)
   -..::I Drafts [s:;J          Hi Scott, I'm a bit busy this week but tell me when we
   _1 Inbox (�SG,(              can chat and I'll make it work . I've been trying for
           Junk Email [11:?']   a while with no luck. I really need to understand
   _; Sent Items (11            �arketing, like pop ups, how the world will actually
                                know our product exists ... I understand the power of
                                social media sites, but that seems passive, not
                                'attacking' the customer ... commercials, emails,
                                marketing memory ( like when I'm reading yahoo and
                                so�ething I recently looked at populates an ad on the
                                screen in the middle of the article I'rr reading) ... I'm
                                sure you know a �ills on other ways. Let rre know what
                                works ... thanks, -C

                                Sent from Sunny SoFla




     CS-0147                                                           Attachment
https://outlook.live.com/owa/?ae=Item&t=IPM.Note&id=RgAAAABBukwE3wy%2bSoSJ          D
                                                                           ... 3/13/2017
                                                                      PX 31, 3271
 Re: can
Case     we put off call to 6 - isDocument
      1:17-cv-20848-DPG            that ok? - Outlook                                 Page 113
                                              47-1 Entered on FLSD Docket 04/05/2017 Page   1 of of
                                                                                                 2
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   ···- ""

   ..J] Calendar              Re: can we put off call to 6 - is that ok?
                              christopher seaver
   � .. I Contacts             To help protect your privacy, some content in this message has been blocked. If you're sure this
                               message is from a trusted sender and you want to re-enable the blocked features, c!'d: h 1::,.
   ;,1 Deleted Items (19)     Sent: Friday, January 13, 2017 5:37 PM
   d   Drafts :��j            To: �-r' � r:�. -;:p:··�, i_�,.-�i::tt -H�··.<·-.'.�,l.� · -;·,i:n :. ..,;·t :: �"in��.c,.._m J
      ;Inbox (S:.i:.q
    -.JJunk Email ri 1€.9.    I guess your busy, Im sitting at home waiting to talk and It's Friday night. .. Let me know when something
                              works ... It's been way too long, with over 360k into this I'm looking for some results soon, something . I
   ._! Sent Items(!)          understand you want it right but what's the rollout, launch event, marketing? There's gotta be something
                              you can email. Fb and lg have almost nobody following Janus case. Throw me a s

                              Sent from Sunny Sofia


                              On Jan 13, 2017, at 3:57 PM, Scott Cooper<.: :ot':-:: 2r1.lr,:1!rr1trr.:,r::e�;'.':g.,,':n> wrote:




                                           Scott J. Cooper
                                           CEO and Creative Director
                                                 ;-·,,d!!'J·.. � _..f I·�-,,�:,.�'· ,fi .1/;.c( .... ,1
                                           r ';l /�-(�:

                                           888·926-81741 Ext: 212
                                           Direct: 305-330-91991 Fax: 305-503-5458
                                           World Patent Marketing
                                            1680 Meridian Avenue, Suite 600
                                           Miami Beach, FL 33139
                                           '.Jt;:· :·i _.- ., �!' ip; �· .· �,·� 1 --•,rh f�� r. 11f�
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     CS-0152                                                           Attachment D
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                                                                      PX 31,   3272
 Talk - Outlook                                                                                                                                                             Page 1 of2
Case 1:17-cv-20848-DPG Document 47-1 Entered on FLSD Docket 04/05/2017 Page 114 of
                                      136

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 .      .   ··�                         Talk
 ; � Calendar
                                        christopher seaver
     � Contacts
                                        Sent: Tuesday, January 17, 2017 1:45 PM
                                        To: Sc'}.t (C'1•1H [!'.-::Jtt' ' , -ort�natt3ltm:irk<>ti,:y.cun]
                                                                      c

     i.J          Deleted Items (49;
     ;..::]       Drafts [S:3j          Can you talk between now and 6p? Or anytime tomorrow?
      _j          Inbox (55e3j
       ,          Junk Email ) ! 6� I   Sent from Sunny SoFla
     ....:;       Sentitams � Ji




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https://outlook.live.com/owa/?ae=Item&t=IPM.Note&id=RgAAAABBukwE3wy%2bSoSJ
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 Call - Outlook                                                         Page 115
                                                                             1 of of
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Case 1:17-cv-20848-DPG Document 47-1 Entered on FLSD Docket 04/05/2017 Page
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   .- j

   _J Calend.ir                   Call
                                  christopher seaver
   !LJ Cont;,cts                  Sent: Friday, January 20, 2017 8:32 AM
                                 To:             Sct.t� r:onp�r f: .�ntt(,_ ..;;;,rl'.tp.1tc1 ,trnc.rl� ,tr:J.C ;rr.]
   '"if   Deleted Items(-,))
   ..,.j Drafts [53�              Can we make something happen over the next few days?
    _j    Inbox (:555:.:;         Quick phone call
          Junk Email [ilf_�J
   · •..l Sent Items (1)          Sent from Sunny SoFla




     CS-0157                                                             Attachment
https://outlook.live.com/owa/?ae=Item&t=IPM.Note&id;:;RgAAAABBukwE3wy%2bSoSJ...      D
                                                                                3/13/2017
                                                                        PX 31, 3274
Re: Follow up - Outlook                                                 Page I of 2
Case 1:17-cv-20848-DPG Document 47-1 Entered on FLSD Docket 04/05/2017 Page 116 of
                                      136

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                Mail                                                                               . C Jo ; 1k: ! Cl;.--!                            .:;_   ·�    -
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  _1J <.alPndir                      Re: Follow up
                                     Scott Cooper [scott@worldpatentmarketing.com]
  &J Contacts                        Sent: Saturday, January 21, 2017 12:47 PM
        ....,                        To: clcL�oj.Jl·:,r r .2avc
   .!!/ Deleted Items C:·9;
   �;




   .,_J         Drafts [:::;·        Means a lot to me to - It's all working - call u
   ._;          Inbox (SSJ:)         Monday - takes time
     0          Junk Email r 1171]   man- getting the other cases on this week - I'll send
   ._l          Sent Items(.'        u samples

                                     Sent from my iPhone

                                     > On Jan 21, 2017, at 1:41 PM, christopher seaver
                                                             wrote:
                                     >
                                     > Hi Scott,
                                     > Please call me. I'm asking for a few minutes of your
                                     time. This investment means a lot to me and I have
                                     been trying to talk to you for weeks with no luck.
                                     > Tks, Chris
                                     > Sent from Sunny SoFla
                                     >




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     CS-0159                                                                       D
                                                                              3/13/2017
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 Address - Outlook                                                      Page 1 of2
Case 1:17-cv-20848-DPG Document 47-1 Entered on FLSD Docket 04/05/2017 Page 117 of
                                      136

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   __j       -

 j �   tJ Calendar                      Address
                                        christopher seaver
  8 . ) Contact•;                       Sent: Monday, January 30, 2017 8:53 AM
                                        To: Sc;,tt Cc-:,:i:::· '.[·:ct:t'.: ;,-��l..:ipc:�r-ntr:1ar'.:::i:ing,,.. ::nJ
   ·�    Deleted Items �4�)
   ..•:J Drafts     [,;3_;              Never received cases maybe sent wrong address?
   _J Inbox (5'."P}                     Chris Seaver
    0 Junk Email [11i0]
   _j Sentltems ( 1)



                                        Thx Scott
         �a. . "''°· rotd.�r..;, ..
                                        Sent from Sunny SoFla


                                       > On Jan 30, 2017, at 9:24 AM, Scott Cooper
                                       <scott@worldpatentmarketing.com> wrote:
                                       >
                                       > Your losing it
                                       >
                                       > Let's talk on Wednesday?
                                       >
                                       > cases were sent to your address a while ago                                                                                                               - I'll
                                       get you 20 more
                                       > iPhone 6 cases
                                       >
                                       >
                                       >
                                      > Sent from my iPhone
                                       >
                                      >> On Jan 30, 2017, at 8:40 AM, christopher seaver
                                      <                      wrote:
                                      >>
                                      >> Good morning,
                                      >> We need to sit down and go over what's going on.
                                      You've been promising samples and a phone call for weeks
                                      and weeks . Scott, you need to set aside time to talk to
                                      me on phone, 10-15 minutes, that's it. I'd like to see
                                      how my investment that I'm paying ho�rible monthly
                                      payments on is being put to use. It's crippled me and
                                      that makes this all the more painful. Thanks man
                                      >>
                                      >> Sent from Sunny SoFla
                                      >>




     CS-0162
https://outlook.live.com/owa/?ae                                       Attachment
                                =Item&t=IPM.Note&id=RgAAAABBukwE3wy%2bSoSJ...      D
                                                                              3/13/2017
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 Re: Please read asap� Outlook                                          Page 1 of 4
Case 1:17-cv-20848-DPG Document 47-1 Entered on FLSD Docket 04/05/2017 Page 118 of
                                      136

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       _j- -

   -� Calendar
                                 Re: Please read asap
                                 ch ristopher seaver [
       � Contacts
   -                             Sent: Tuesday, January 31, 2017 8:59 AM
                                 To:   Scstt C,cr, :;r [s,:;ott-']l •1a:.:.:i:;,itentrr.c-r:�et'n9.<.omJ
   !d     Deleted Items{-�'.))
   dl     Drafts [53J            Hi Scott. I had to say something. It's put me under so much fir.ancial stress I think it's important you
                                 understand where I'm at.
   . j Inbox (5:.i8J)            I'll give you a ring later today, it's terribiy busy at work today
     i"J Junk Email [11/(,:      Sent from Sunny Sofia
    _j Sent Items ('.)
                                 On Jan 31, 2017, at 5:08 AM, Scott Cooper <�cottli'i' i;::rlrlnatentr.1;:irkdinq.crom> wrote:

                                                   Your really fucking crazy - it's 5 am - call my cell whenever today -



                                                                                                                                                                                  .
                                                 Sent from my iPhone




                                                                                                                                                                                                                                          ljf Q/\ sO-
                                                On Jan 31, 2017, at 3:58 AM, christopher seaver <.-:r                                                                                                                                w1


                                                                    Hi Scott, it's middle of the night and I'm on ER call seeing cases. I'm (
                                                                    writing this to you to discuss some issues. We are now in over a year
                                                                    and I really don't see any traction. You really pushed me to
                                                                    uncomfortable levels to give you over 350k to get this project going
                                                                    a year ago. I cracked open my retirement to de this and it's set me
                                                                    way back. Now, I can't even get you on the phone. You set up phone
                                                                    calls with me at all these bizarre off business hours times and
                                                                   repeatedly cancel. Toe idea I came in with specifically has literally
                                                                    been ignored and seemingly discarded. This is the very idea I
                                                                    believed in and contracted you to pursue. I don't see any patents for
                                                                   my idea either. Although I'm ok with Janus, I'm NOT ok with not
                                                                   producing what I paid you for. Please tell me that after giving you a
                                                                   small fortune why you keep putting me off? You're right, I'm losing
                                                                   it. I have every right to. This doesn't feel right to me. Literally
                                                                   everybody I talk to tells me I'm being scammed. What else does it
                                                                   look like? You're dodging me constantly, what's 10 minutes to
                                                                   answer a few questions for a guy who's handed over his life's
                                                                   savings?? With 350k, I could've easily produced a bunch of plastic
                                                                   cases, made a little commercial and done lots more. So what am I
                                                                   getting for this investment? I really hope I'm wrong but I'm very
                                                                   worried now. I see no legitimate marketing at all other than a couple
                                                                   blurbs on your website and on social media with few hits. I expect to
                                                                   talk to you today, not Wednesday. Make the time for me, it's the
                                                                   least you can do. This is becoming a total frustration. I expect to
                                                                   speak TODAY, Tuesday night, not Wednesday. I cannot wait any
                                                                   longer. Whatever it takes we can talk Tuesday night. Thanks, Chris

                                                                   Sent from Sunny Sofia


                                                                   On Jan 30, 2017, at 8:53 PM, christopher seaver
                                                                                             wrote:




                                                                                       From: Scott Cooper
                                                                                       <;_:cott@worldpattr;tmarketing.corr:>
                                                                                       Sent: Monday, January 30, 2017 3:59:00 PM
                                                                                       To: christopher seaver




https://outlook.live.com/owa/?ae
     CS-0165                     =Item&t=IPM.Note&id=RgAAAABBukwE3wy%2bSoSJ... 3/13/2017
                                                                        Attachment  D
                                                                       PX 31, 3277
 RE: Hey buddy, anything new on J-C? - Outlook                          Page 1 of 2
Case 1:17-cv-20848-DPG Document 47-1 Entered on FLSD Docket 04/05/2017 Page 119 of
                                               136

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  _jJ Calendar                    RE: Hey buddy, anything new on l-C?
                                 Scott Cooper [scott@worldpatentmarketing.com]
   �-J Contacts                  Sent: Wednesday, February 22, 2017 3:07 PM
                                 To:         ct,ri;;tc;:i;1 c .- rVtv<.;;- [
   ·�   Deleted Items (4��
   d Drafts [ s:; l              Getting ready for big promotion launch
   ..   lnbox (SSR3)
   'd Junk Email r J rm�        Scott J. Cooper
   ...J Sentltems ( • )         CEO and Creative Director
                                scott@worldpatentmarketing.core
                                888-926-8174 I Ext: 212
                                Direct: 305-330-9199 I Fax: 305-503-5458
                                World Patent Marketing

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                                 Join The Invention Revolution




                                -----Origina� M essage-----
                                From: christopher seaver
                                Sent: Tuesday, February 21, 2017 4:26 PM
                                To: Scott Cooper <scott@worldpatentmarketing.com>
                                Subject: Hey buddy, anything new on J-C?



                                Sent from Sunny SoFla




https://outlook.live.com/owa/?ae
     CS-0166                     =Item&t =IPM.Note&id=RgAAAABBukwE3wy%2bSoSJ... 3/13/2017
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                                                                       PX 31, 3278
.Ke: l:Shop Worlct Patent Marketmgj New customer order (Jo88U) - March J, 2017 - Outlo ... Page I of2
Case 1:17-cv-20848-DPG Document 47-1 Entered on FLSD Docket 04/05/2017 Page 120 of
                                                136
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     � Calendar
                                            Re: [Shop World Patent Marketing] New customer order (36880) - March 3,
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                                            To help protect your privacy, some content in this message has been blocked. If you're sure this message is from a trusted sender and
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                                        Sent from Sunny Sofia


                                        On Mar 5, 2017, at 2:02 PM, Scott Cooper <:0 ,:,1.'..,:1,T' jr ·:i>.' �·:y•:.,�'.·,!h;cll> wrote:

                                                      Just got our first sale on Friday

                                                      Scott J. Cooper
                                                      CEO and Creative Director

                                                      Wor1d Patent Marketing
                                                      150 SE 2 nd Avenue, 4 th Floor
                     r                                Miami, Florida 33131

                                                      888-926-81741 Ext: 212
                                                      Direct: 305-330-9199 I Fax: 305-503-5458




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                                                      From: Scott Cooper Blog [mailto: 0!'.,. '·"L1·:"::·:1r; ,t.,·n•r;1 .. rrP�i,,.;,,0r,1]
                                                      Sent:  Friday, March 3, 2017 12:00 PM
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                                                      Subject: [Shep World Patent Marketing] New customer order (36880) - March 3, 2017




                                                                                                   Naw/ customer order




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     � update, attny letter, etc - Outlook 136                          Page 1 of 2



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  -� Drafts f5�]                                Hi Scott,
   !_ .J Inbox (SS:3)                           I'm doing a little housekeeping for taxes. Friday, I
    0 Junk Email [ � : ,rj                      received a letter from one of your former attorneys
   � Sent Items (1)                             that shows my original patent was rejected and then I
                                                followed up with the USPO and PCT sites and as it
          G:c', tu 11: .,: ,,:• f, :;-< ·., �   stands not one has been filed or pending on my
                                                behalf. Wouldn't you be concerned if you paid
                                                somebody to get you patents for 50k and there's no
                                                result?
                                                Next, I'd like to see marketing studies you've done. I
                                                came across my checks I wrote you and it's been over a
                                                year. I gave you all the money up front by a date you
                                                insisted I pay and even signed a promissory note that
                                                was very firm for 300k. Why was it such a rush to pay
                                                up front if you knew it would take so long? I'd like
                                                to see some hard numbers. What are the manufacturing
                                                costs per unit, what's been spent and where? I
                                                understand things take time, but over a year? My final
                                                question is what about pocketed version? This is the
                                                singular reason I forked over all the money. It was my
                                                dream idea, the birth of this project. Yes, I think
                                                Janus case are cool, but there are thousands of cool
                                                cases, but not one case with a pocket that holds more
                                                than credit card. I'd like physical reports, 3omething
                                                tanylble. it gives me something to work with,
                                                otherwise I'm just sitting here saying what is going
                                                on? At the end of the day, I'm asking for a fair
                                                shake. You insisted I pay you and now I'm asking you
                                                for a real update, not a phone conversation. I'd like
                                                real deadlines. If you can't do that, then I'd like to
                                                know why. Thanks much, -Chris

                                                Sent from Sunny SoFla




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